Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 1 of 86 PageID#: 241

EXHIBIT "A"
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 2 of 86 PageID#: 242

PART 2a
,Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 3 of 86 PagelD#: 243

   

THIS MINING LEASE (this “Lease”) is exeonted as of June 3, 2011, by and among
OKLAHOMA CHRISTIAN UNIVERSITY, NORTH CENTRAL TEXAS COLLEGE, UNITED
WAY OF COOKE COUNTY and THE FROST NATIONAL BANK, as Co-Trastees of the LEQ.
and MABEL SCOTT CHARITABLE TRUST ("Lessor"), and CHARLES N. DAVIS, II
(“Lessea”).

RECITALS:

A. _ Lessor is the owner of certain real property in Love County, Oklahoma, which is
described in Exhibit A to this Lease (the “Leased Premises”).

B. —_ Lessor desices. to lease to Lessto; and Lessee: desires to lease from. Lesgor, the
Leased Pretisey for certain mining and related purposes, as more particularly set forth in this

Lease.

ACCORDINGLY, for good and valuable consideration, the receipt and sufficiency of
which are bereby acknowledged, Lessor and Lessee agree as follows:

uM Lease. Lessor hereby leases and demises to Lessee, and Lessee hereby leases and.
lets from Lessor, the Leased Premises, subject to all liens, exsitinttits and other encumbrances of
record, affecting the. Leased Préiniises, for the exclisive-tight to: prospect, explore fy,-shiies
process, produce, store, remove: and, sell thereitom, ail: mirierils’ and constrlelion snatertale,
including sind, soil, gravel und: Hinestone, “Gut excluding: oil and/or gis, said minerals arid.
construction materials being lereit. sollestively zefintedto collectively as the “Materials,” and
the right of ingress and egress for such purposes. As part of such. prospecting, mining and
production, Lessee shall have the following rights, so long as they arc exercised in accordance
with the provisions of this Lease:

(2) The right to remove, process, store, transport, market, sell and. otheiwixe
deal with the Materials,

(6) ‘The right to enter the Property at the gate frim old: highway 77 that joins
highway 1-35 andthe nonexclusive right to-wse existing roadways crossing ‘the Property
between such gate and the Leased Premises for purposes of ingress and egress to and
from the Leased Premises and tratispoitation of Materials from the Leased Premises.

(c) The right to deposit on the surface of Leased Premises such Materials as
may be produced from Lessee’s operations under this Lease.

(@) The tight to place on the Property machinery, equipment, structures and

other improvements necessary dor the mining and sélling OF Matetlals mined, together
with waterlines and other installations as more Specifically sat forit in Seotior 6 hereof.

2, Tem. The term of this Lease shall be five (5) years (the “Primary Tenn”),
commencing, on the date hereof aid expiring ott the fifth (Sth) anniversary of ths daté hereof and
continuing thereafter for'so long as. als are. mined ‘and removed from the Leased Promises

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fof COOKE COUNTY, TEXAS

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Case 4:19-cv-00651 Document1-3 Filed 09/09/19 Page 4 of 86 PageID#: 244

  

in Commercial Quantities (as horsinafter dofined),-unless stipner terininated.ih aeeotdanee with

the tetms of this Lease, The 12 month period ¢oramencing on the commencenionl duty: of this

Lease, anil wach 12 month peclod eeraincale hie anniversary ol (le date hertof, is referred to

horn as 2 "Leap Year” oe impos 6€ NF Son 2, the ton “Commer Quan”

shall meah: ‘find removal -of not less than One Hundred ‘Lhousarid. (100.000) Tons.

Materials during each Lease Year. (108,000) Tons. of
3. Royalties.

@  Advp es: Lesséé has contemporaneously with the exeention
and delivery of this Bide, ‘puild to:Lessdr the sum of Two Thoustind Dollars ($2,000) as’
advance royalty “the Initial Advance: Royalty”). Lessee aztces to pay: to Lessor, as
advance royalty, on the dates.et forth below the following Advance Royalties: ,

Anniversary Date Aivénos Rovalty
Execution $2,000.00
June 3,2012 orsoonerupon  $20;000,00
obtaining all required mining
permits
June 3, 2013 $30,000.00
_ June 3, 2014 $40,000.00
June 3, 2015 $50,000.00
June 3, 2016 $60,000.00

‘Each Of stich paymerits being herbin called an “Advance Royalty Payrient” suc
Advance Royalty ‘Payindtits. aid the Initial, Advance Royally hing xsin bogie
called “Advance: Rayalties,. Lessés. ridly-dedivet from the Advance Royalties: payable
under this paragraph thé aiiouat of all ‘Tonnage Royalties (as hereinafter defined)
thexetofote attuilly paid te Lessor which have not previously beén. deducted from
Advance Royalties, ‘

(>) Tonnage Royailtics,

(i) Lessee will-pay to Lessor, on:ar before the: wwentiéth (20th) day of
each calendar month, 8 royally eypal to the grater of (i) Sixty: Five: Cents: feo
per Ton. (a “Ton” as ‘used herein befag 2,000 pounds) or (li) Twelve and One-Half
Percent (12.5%) of the Average Loual Sales Pride (a3 horveinafter defined) oh all
Materials (except Fltimo Sand. and Select Fil!) mined and. removed from the
Leased'Premises during the preceding calendar month (cach such paymént being
herein called a “Tonnage Royalty Payment,” such Ponnage Royally Payments
beitig herein collectively called “Yoritiage Royalties”). Lessee niny deduct ftom
the Tonnage Royiiltiés payable tinder this parégsagh the ainount.of all Advance
Royalties theretofore actually paid to Lessor which have not préviowily been
deducted from Tonnage Royalties. -

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2: of se MARC! A, GILBERT
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ce ot By: CODY SHIRES, Deputy

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 5 of 86 PageID#: 245

oo™,

Gi) Lessee will pay to Lestat, 6h ot before thi tyentigth (20) diy. of
each calendar’ month, a royalty equal to the gréates Of @ Twenty Five, Cents
($0,25) por Ton or (ii) Twelve arid One-Half Percent (12.5%) of ths Averipa
Local Salts Price on all Flume Sand and Select Fill (as hereinafter delined) mined
and removex from the Leased Premises during the preceding calendar month
(cach such payment being hercin called 4 “Tonnage Royalty Payisient” subh
Tonnage Royélty Payments being herein collectively called “Tormage
Royalties”). Lessee may deduct from. tte Tonnage Royalties payable unter this.
pataptaph the amount of all Advance Royalties theretofor actually paid to Lessor
which have:not. previously been deducted ftom, Tonnage Royalties,

__ (iii) The term “Average Local Saleg Piles” shall mean the prige. at
which Materials of comparable type and quality.aie puichased. aid sold bietlwyeen
untelated parties in the same 1 joa nu ths Lepsed Promises tor delivery:
into the Dallas/Fort Worth area. Tho toros “Fluing Said” aad “Select Fill” shall
mean materials from either a pit nuitor after processing with a miniititm of fifty
percent (50%) of these materials pussing through a # 50 sieve.

(ce) y , If Lessee shall construct a plant for the processing
of Materials oxttig-Lewsttl Rromises shined on a. property other than the Leased Premises,

Taeskee. shall pay to‘Eesaée monthly Processing Royalties equal to $0.05 per ton.of
Materials processed on and.sold. ftom the Leased Premises. Such paysnent shall be madé

‘together with payments of Tonnage Royalties.
All payshents required under this Section 3 ate herela: called “Royalties?” Ail Royalties owing

hereunder shall be paid'to Lessor ‘at the address shown al-the: baginning of thits:Lease,. ox to stich
different address as Lessor shall have designatéd by. written.notice sont in accoxdunte-with the
tiotice provisions -of this Least.. ff any Royaltigs‘are not paid in full by. the time-desipiuite in this
Section 3, such past due Royalti¢s shall benr interest atthe raté equal to the lesser of elghteen
porsent (18%) per dnnum or the highest tate allowed by law for the period beginning onthe due
date of such Royultics and ending on the date:such Royalties are actually paid to Lessor.

4. ial Ri Recotids, Lésite agrees to malittain ak its busitioss- offieds; ‘ut
all ar ratte. revords of the ae apd type of Material, Flume Sand arid Select Hill
removed from Leases Premises and s ¢ a ideord specifying the amioint and type of
Muiteiial, Pluie Satic-agSeleot Bill removed, the driver, thie yoale ticket, the date of éxdh toad
of Material, Plime Sthd-ind Select Fill removed from the Lessed Premises, ittluding.a daily
recap shéet-and sych.revord shall-be availyble for review by Lessor or Lessor's agents, daring
normal businéss hoitis for the purpose of verifying such atioutits. Lessee shall also maintain
records adequate:for Lessor to determine the Average Looal Sales Price-for al). Matedal, Phime
Sandand Select Fill for each month during the term of this Lease, Lessor shall have the tightat
all times to enter on and to inspect all.opeiatiotis during normal business’ hours, Dutitig mining

 
  
  

or processing ‘operations, Lessor will’ be accompanied ‘by Loasye's representatives. In addition,
wriaelgae fornish Lessor 2 copy of Such records along with eacti ‘monthly payment for

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 6 of 86 PageID #: 246

    

 

     
 

Minitix Development Plan. Losses .shiill: détidiet its miniay operations gui the
‘Leased Pignises in-ccordance with 9 mining plan approved ta writing by Lessor, such:approval.
hot:le'bb-uprtasonably. withheld. Such mining plan shall @) duseribe the methods and thitiag of
intended whining, (ii) indicate the:areas of the Leased Promises in which inining ativities-are to
bo contliyoted, (ili) show the-ditsotion in which mining is'to progress, (iv) contain a plat;selting
Torth dni Proposed plavit location, (¥) contain a plat of the area tobe mined and lops.of mining
‘operations, (Vi) shew: all iBpased roads and rad, fdoatiotis and (vii): show the location of
ooitinehcement of mining-and the progression of mining-operatioys. The mining plan shall litnit
mining to areas whith comply with any. and all bonndaty setback requitemonts of applicable
local, stute: or federal law. Lessee shall provide to Léssor a copy ofall evalustion. materials.
‘proitited or obtained ay purt of its review tind evaluation of the property, including, bit not
limited to, all core:samples and. feasibility studies.

6, —__Lesses Rights; Lessee shall have the right of ingross and egress-at all times across
the Leased Premisés as set forth in paragraph (6) of Section 1 hereof and Lessee: xiay coustruct a
toadway across the Leased Premises at no expense to tht Lessor; a¢ well as madivays oly Gach
unit of ‘the Leased Premises being developed, and Lessee may: use sand and gravel mined from
tie ‘Leased Promiseg inthe distraction of the roads. at no éxpepse to Lessec. It-is agreed that
any iftiptov¢menite on thitxdads ghall remain the property of the Léysor on the termination of this
Lease, Whether. such improvements are made permanent or ternporary. Lessce-may plate on the
property iy and all machinery, cquipment, structures, and offi nbrovetsenta wi ich will sbe-
necgisaly, or cbniventent, for the use of mining and selling of Material minad from the Leased
Promises, provided thit'tt ia working: of in. working condition or will be used. in ‘mining.
Spérations. Salvage cay snant shill Be, sithewed! from the Leased Premisés. Lesddé may alyo
lay-all necessary Water lites avid eonstruct power lines for pumping or plant operations and do:all
other things xeasonable.and necessary. of the Leased Proriiseg:to mine the Materials, In addition,
Lessee:may build dats: to impound water necessary for the ptopsr washing of the Materials and
muy-dig ohannels:to.seoure drainage fromthe Leayed Promises, It is further agreed that all such
machinery, equipmeiit, Sttudhires, ‘ahd other equipment placed on the Léaséd Premises except
‘those. placed in the roadway, waterways, and tlectrical lities shall remain personal. property and
slid] not-be consideted a part of thé realty, as by attachment t6 fhe soil, and-saeh machinery,
equipment, structures, and other improvements maybe removed vpon the expitation-of the Tein
Bacek provided that the Lessee is not in default in any of the payments or other covenants,
provi erein,

7 — NonsExclusive Lease, Itivnnderstood-and agréed:that the Lessoc is nét receiving.
nox dots it receive by this document, im extlusive leaseof the Leased Pretniges, but Lesses's
lease and rights of tse of the. Leased Premises: are limited to the’ mining: of Materials on. the’
Leased-Premises as provided in Sdition 1, and exélusively: foi ‘tie. Leysed Promises heretii
desoribed. All nsts of'the Leased. Premises not'being'mined for Materials as.tidiein réquired; ate.
heraby ‘reserved to Lessor to graze livestock or for other use Which does: not interfere with
Lessce’s use as herein granted,

8. Seales, Lesser agnees'to install and maintain oii thie Léased Promisos-at itt otn
cost and expense, Yo: lobg as this Leaso Is ini force, atertified motor. tuck sdgle,:whioh will. bs

used for the purpose of keeping an agctinate ascount of all Matecials siiined:aca removed frou thé
Leased, Piénilees. The scale will be checked for actiiracy at appropriate periodiG intervals.

 

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 7 of 86 PageID#: 247

9,  ‘Books.and Records, ‘Thiroughout'the teom-cf this Leases Lessexrshall furnish ts,
Lessor; on or before the. 20th day of each ealendar Hiouitlifollowing any calenidarraonth in whish.
Materials: were xenoved: from. thé: Lensed Premises,.a:complete and agcutate ‘statement Showing
the number of tons ima types of Materials mined and temoved from the Leased Premisoy by
Lessee: during the preceding, caléndat month, Within 90 days after the-erid of each Lease Year,
Lessee's chief Binanctal officer: shell ouxtify to Lessor the number of tous and types of Materials
mingd dig@ romoved. Gsm dhe: Leased, Premises by Lessée.-during the peppeing [Aa Year.
Lasot itiay, it all reasonable times during business hours arid at Lesseels premises, audit, the
' books, maps and records: of Lessee reasonably necessary to accurately. detennitic, for day: period,
che tonriaiges-of Materials miitted avid removed ftom the Leased Pr smises, Additionally, Lessor
wigy, ftein time to time, makeror dbtain topographical sutveys, snaps, site photopraphisiand-video
wipos abdidt serial photographs and video tapes oF the Leaded Prodiises ‘to Assist in- tic
alcilition.of tonnages of Materials mined and removed’ from the Leased Premises (ant Lessor
— ghtain agcéss t0 the Leased Pietnises at all times reasonably necessary ‘to wake or obtain
sgh sitveysy ninps, photographs and/or video tapés). ifany such audit, Survey, imap, photograph
ur vidéo tape discloses information showing that Royalties are oweil to Lessor under this Lease
“which Lagsee'has failed to.pay, Lessée shill immediately pay such Royalties: or-other payments
to Lessir together with interest thereon at the yate provided in Scotion.3 hereof commencing. oh
the date the Royalties or-ather payments should have been paid to Lessor under this Lease,

10. Taxes, Léssor.shall pay prior to delinquency all taxes assessed. against the Leased
Premises, Within 15 days after delivery by Lessor to Lussee ofa tax: statemoat und evidence: of
payment by Lessor of the taxes set forth thieeeit, Lessee Shall rolmnburse:Leseor for Bighty-Seven
and, Five-Tenths Peroent (87.5%) of all taxes paid that ave attributable to any inotéase in the
ae vation of the Leased Prémiises subsequent to the eetiation of this Lease, it being nereed thal
such réimburserment represents an, equitable allocation ‘of tax responsibility between Lessor and.
Lessee, Lessor may contest any tax tisseased against the Leaged'Pretilises ot arty valuation of the
Leased Premises by: & goveramipiite! -duthority for taxpugposes. Lessee waives tiny cipit it may
have, at law or othervdse, to ‘contest-any tx assesstd’ against’ the Lensed ‘Premises. ot atly
viiluttion of the Leased: Premises for tax purposes. Lessee:shall Ray Prony Helindueny all
taxes:agsessed upon: ot levied against all vehicles, equipment; machinery or. other property of
Lextee histalled or placed in, on, and/or under the surface of the Leased Préemisés.

11. Applicable Laws, Lessee shall cosiditict its opétitions on the Leaséd Promises ih
accordance with all applicable teeal, state and federal ordinances, laws, orders, rules aid
regulations, Without limiting the- generality of the fUregoing, Lessee agrees as follows:

(a)  Lé¥sée shall sectire’all permits regiiited fidin povermmontal authorities to
conduit oparitions permitted under this Lease, and shall provide to Lesser copies of such
permits. ‘ \

  

 
 

  

) To the extent Lessee uses.explusives init operations \inder. this Lease,
Lessee shall state, tanspirt, secure atid ‘ase: the ‘wxploiives’ in. accordanes With oll
ayplicible requirements inaposed: by the Relloral, Bureau of Alvotisl, Tobsoop aud
Fivsarshs. and. aay other applicable governmental authority. Lesseé shall obtain Lessor's
prior written approval of Lessce's plan for storape of any explosives ‘on the Lensed
Premises.

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Page 5 £3! NRE MARC! A, GILBERT
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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 8 of 86 PageID #: 248

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(©) — Lessee shall limit mining to areas: of the Leased Pratnises whioh comply
With siny.and all boundary setback requirements imposed by applicable lew,

@) _In addition to: the requiréiments of Section 9, Lessee shall perform any

  

reclamation of the Leased Preinises required ‘by applicable. law with: respect to Lassals-

operations,
12. No_- Warranty, LESSOR MAKES NO WARRANTY, bk OR

IMPLIED, AS TO ‘THE NATURE, QUALITY: OR:QUANTITY OF THO NL

LESSEE ACKNOWLEDGES ‘THAT IT WAS BEN GIVEN FULL ACCESS TO TH

LEASED PREMISES AND HAS MADE EXAMINATIONS AND CONDUCTED TESTS
THEREON TO SATISFY ITSELF AS TO THE NATURE, QUALITY AND QUANTITY
OF THE MATERIALS.

   

     

 

Ids: amation.of Surface, ‘Lésse¢ shall level all aregs mined By Lessee by filliny-in.
pits with waste. material froma the ixninediate och eerie alow rock front the surface of
the. ground and filling of valleys in sich a-manner that the atea duh be traversed with Fann
machinery. All ridges and peaks of Jand anid stick piles. of Materials or waste products stored on
the:eased Premises shall be graded: to a rolling topography traversible by: machines Hidoediatty
for ‘maintenance, All soil disturbed for plant construction shall ‘be: reclatmed to its original
condition. Reclamatién will conimence:twelve (12) months after mining begins.

14. Due Care Throughout the Terni; Lessee shall ooniluct its operations ina clean,
sufh ond tesponsiblé manner: and. in a trarmer: that will iaitiinize the mining and shippiig of
cotamercially: saleable Materials, At gli timed npon entering or leaving. the Lvased Premises,

-Lossee shall leave all gat¢s closed and Iockod. Lessee shall exercise due cate to avoid damaging

amy of Leasor's buildings, ieapervetcsate, equipnivnt-or ‘otter \prepérty Tdvated’ oa the Leased
Premises. If any damage should dcour to any of Lassor's Wuildings, improvements, equipment or
other property as-the result of the acts-or omissions.of Lassye- of ils agents of etaployees or any
other person for whom Lessee is legally responsible, Lesiée:stiall pay:to Lessorori demand:-the
gost of any required repair or replacement. :

_ 15 tademmity, Lessee shall defend, indemnifyand held hamaless Lessor against all.
claims, . suit, losses, costs, damages and expenses Gaoliding yeasomnble’ attorneys’ fees) asisinsd

agaist or-itoutred by Lessor on.adcoult 6f of arising from Leasex!s opéritions' under this Lease,
16. Tnstiraneg, Throughout the Téhn;. Lessee shall maintain. the following types of

insurance in amounts not less than thse set forth below:

@) —Worker’s: comiperisation-dngarance in;an dmotiiit -siffiotent to cover fill
liability under thé-worker’s compensation laws of the State of Oldatioma: toiether with
employer's liability insurance in an amount not Jess ‘thsn: $500,000; The policies
evidensing the: insurance required wider this: subsection (2) shall not be éndorsed with e
waiver of subrogation endorsement, «waiving the darrié:’s right of recovery undér
subrogation or otherwise frotn Lessor,

(b)  Commereial getiera) Ifability-insiixaticg, -ytitten on an'“oveurrence” (as
opposed to a “claitns made”) bugis, instirinig against claims for persoital injury, sickness,

 

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MARC A. GILBERT
DISTRICT CLERK
COOKE COUMTY, TEXAS

* By CODY SHIRES, Deputy
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‘ ‘

disease or death and against claims for injury or destruction of property. Such insurance
shall include the following coverages:

(i) Explosion, collapse and underpround hazards;

Gi) Blanket contractual liability, including Lessee’s indcranity
obligations under this Lease;

(ii) Broad form coverage for property damage (extended, to apply to
completed operations);

(iv) Products and completed operations liability;

(v) Independent conttagter’s protective liability to cover Lessee’s
liability arising out of gperations performed by independent contractors retained
by Lessee; and

\

(vi) Operations and premises liability (including elevator liability).

Limits of Mability i the commercial general ped poll iy shall not be less than
$1,000,000 per ocourrence and $2,900,000 ansun -detopate for bly injury, and not
fess than $500,000 per o¢currence and $2,000,000 dtihudl agprepate for property damage.

_ © —_ Antomatic liability instance, covering operation of all dwned, hired and
non-owned vehicles, in:an anaount of not less than, $1,000,000 combined singte limit.

() _ “Umbrella” excess ability iisutuiite providing:insurunce. coverage for all
risks covered by the commerdidl genenil Tabi antl. tilomdbile Habit poliies

referenced shove in excess of the insurance liinfts afforded imder sugh.‘policies, in an
amount of at least $10,000,000. :

All policies. of insurance. requited by’ subsections (b), (@) anid (d)-above.shall name Tessor as an
additional instred or fornis satisfactory to Lessor, and shall contain eidonsed -provisions:
obligating the tespective inytirince companies to givernot leys than 30 daya-written notice: to:
Lessor prior to the efftetive date of thie. eativelation: oy vhunpe. which would negate or diminish
doverage'or limits. of such policies, repardlesy of Whether such cancellation-or change be initiated
by the insurance company or on instrugtions: of the-insured. Before commencing operations
atider this.Lease and thereafter at Jeast'15: days prior to.the scheduled expliation ‘ofany insuratice.
polioy required heretinder, Lessee shiall furnish certificates of insurance satisfhetory to Lessor
from éach insurance company evideiicing-that all insurance required hergutider is in force.

oe ‘Default, The following events shall constitute events of default by Lessee under
this ec:

(@) Lessee shall {hil fo pay Lessor any Royalties, or any other monetary
amount awing under this Lease within the time provided hercunder.

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MARC! A. GILBERT
DISTRICT CLERK
COCKE COUNTY, TEXAS
By: CODY SHIRES, Deputy
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 10 of 86 PagelID #: 250

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 (b) Lessee shall fill to mainhiin any insukance xequited ander Section, 16
above or to deliver to Lessor certificates: of stich fistirates fn Hie anor and within the
time required under Section 16.

(c) Lessee shall fail to comply with any term, provision dr-coveriant of this:

Lease, other than the tétms,-provisions and covenints covered by subsections’ (a).anil- (5)
above, and:shall not cure such failure within twenty: (20) days after delivery of weltien
notice thercof to Lessee,

(d) ‘Lessee shall file: a petition;for. relief under the United States Bankruptey:
Cade; as amended, or any-ather present or, fiitire federal. orstate: insolveticy, banltuptey
or. similar faw (all of thie forepoing, hereinafter:eollestively called: “applicable Bankeuptey
Law", or tin involuntary petition for relief is filed aghinist Lessec:unden any licable
Bankruptcy Law afd suchi pétition is not dismissed within sixty (60) days after the filing
‘thereof, or an order forreliefnaming Lessee is entered under any applicable Barleruptoy
Law, or any composition, rearrangement, extension, reorganization or otlicr ‘Yélief of
debtors now or hereafter existing is requested or consented to by Lessee,

(¢) The leasehold hereunder shall be taken on exeoution or other process of
law in any action against Lessee,

‘18. -Refnedies. Tf any event! of default by Lessee shall otdin, Lessor shall have the
right at its clection, thei of at auy time thereafter while such event of default shall contime, to
puistié.any one or more of the following remedies:

(a)  Tetminate this jee by: giving written. notice thereof to Lesste, in which
event Lessee sell teeta r surrender. the Leased! Premises to Lessor. and if Lessee
fails to do so, Lessor may, without: préjudicé to ony other romediy which it.may have: for
possession or arrearages in Royalties or other nionefaty atnounts owing fo ‘Lessor
hereunder, enter upon and take possessigiy of the. Leased Premises and. expel or remove
Lessee and any dthor person who may be aceupyitig' the Leased Premises.

(o) To the extent permitted by applicable law, obtain injurictive zélief in-case

 

of the violation, or attempted or threatened Violation, of any of thé covérants,:

agreements, conditions or provisions of. this Lease, or toi a deoree compelling
. performance of any of the covenants, agréenunts, sonditions or provisions of this Lease:

No. sight or xomeily. hetein conferred gpon-of reserved t6-Lewwor is intended fo be
exglusive of any: other fight or remedy, arid, eich suevight: and. ey ‘shall: Be cumntilative and ‘in
addition to any right or remedy given htreunder orsiow Srhescatter existitig at law or in equity.

19. — Seourfty Interest, In addition: to any siatntory Lessdr’s lien available to Lessor

and in order to, Secure paynienit, of all Royalties and other sums of money becoming dire

hereunder from Lessee, and to secure payment: of any damages or loss which Lessor may- suffer
by -teason of the breach by Lesseeof-any covenant, agreement or condition oontained licrein,

Lessee herby granty-unto, Lessor a. secutity iaterest tn:all Materials, Whether-in raw or processed
form, and all procéeds.thereok. Upon the. aceurrones of an. event of default by Lessee, Lessor
thay, in addition-to. any other remedies ptovided herein, enter upon the Leaséd Promises and take

Page &

arene,

A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 11 of 86 PageID #: 251

ee

- possession of ary and all Materials, without lidbillty-for ‘trespass. of nora (Aid Lessee
hateby waives: any right to noticé or Hearing pridr to such taking of possession by Lesior), and
sell the ‘saine at public or: private. sale, with-or without having suali property at the sile ater
giving Gessoe-reasofable notive of the-tine-dnd pluce off any:publio sale or phe time after which

- any private sale Is to bo made, at which the Lessor or its assign’ may purchaseuniless otherivise
prohibited by law, Unless otherwite ‘provided by low, anli-withdut intending to exolude any
other manner. of giving, Lessee reastnable notive, the.requireingnt of reasonable notice wliall be
wet if such notice is giving in the maunet préscribed under the notice provisions-of this Lease at
least five days before the day of sale. The proceeils form any’ such disposition, lessany. and all
‘expense COnnedted with the taking of possession, holding and selfing. of the property fincliding
reasonable attomeys’ {ves ard other expenses), shall be applied as a ctedit against the
indebtedness eileen a granted in this séation.. Any sumplus shall be paid
Wy Lessee or as otherwise requited by Taw; and Lessee shall pay. any déficiency forthwith.
Coiiternporaneously. with the execution of this Lease, Lessee'shall execute:and deliver to Lessor
@ fintiticing Statement in form sufficient to perfect the sepurity. interest of Lessor in the Materials
and provecds theregf' wider the provisions of the. Oklahoma Business: and Commerce Code.
Lessor may at atly time file a copy of this Lease as a financing vtiténiant,

20, Notlees, Any notice; request, detnind ox other communication. required’ or
permitted hereunder shall be givén in- writing: by (a) personal delivery; or (b) expedited delivery
‘serve with proof.of delivery, or (c) United States mail, postage prepaid, registered or certified
— mail, réiurt-reaelpt requested, vir (4) prepaid telegram, telex or télecopy; sentty the bitended
addressee at the address shown on the siguatute pave of' this: Lease, or to such otlier uddress or to
‘the -attontion of'such other person asthe addressee shall have. designated by written notice geint in
accordance herewith. Any such notice; request; demand. or other communication shall be
deemed to have been given either at the-time of personal delivery or, in thie clise of delivery
serves or mail, as of the dai¢ of first attempted delivery at thé adldress. and. in ‘the snanner
provided herein, or in the case of telegram, telex or telecopy, upon receipt.

21,  Attomey’s Bees, Should either party hereto institate any legal proceeding ‘to
enforce any provision hereof or for dariage by reason of any alleged broach of any provision. of
this Lease or for any: other:judicial remedy, the prevailing party shall be: entitled to reveive.trom,
the losing party all reasonable attoney’s fees and all court costs. in’ contigotion with such
proceeding,

22. Assignment. Without the-prlot written. consent of Lessor, Lesses shall not assign
all ot. any part ofits rights or interdsts‘hereunder. Losior sbiall not withhold such’ donseitt tf the
proposed assignee possesses adequate expertence, eredit Woithiness, weaning thyt said party
would quality for a comparable loan. at any stitt.or federal instituyion régulated by applicable -
‘banking laws.and-the ability to pettorm.Lesyea’s duties did obligations wnder,this Lease, Besse:
may assign all or any patt of its rights ‘or initerest hereunder without the consant-of Lease,
Subject: to the precelling sentence, the provisions heréof shall extend to and be binding wart the
suctéssors aiid assigns of the parties hereof}: atid no change or ‘division in oymership of thé
Propétty, the Materials or the Royalties or other athounts payable: ‘liceunder, however
accomplished, shall operate to dipainish the obligations of Lessee hergunder,

   

    

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Page 9 tke, A CERTIFIED COPY
is Neh MARC! A. GILBERT
gj iS: DISTRICT CLERK
% a fps COOKE COUNTY, TEXAS

‘Dyin ate By! CODY SHIRES, Deputy
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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 12 of 86 PageID #: 252

23. Quiet Enjoyment: Lessor represents that Lessor is the sole owner of the Lease
Premises, however, if there isan: chiguinbrsiivesoutatancliqg against the Leased Premises; Lessor
represents that it has the Al sight¥o lease ‘tlie: saifie ison tie teins set forth herein, Lessor
further covenants that Lessee shall pesgefilly.arid quietly:enjoy the Leased Prethises for-the tertn
of this Lease or any extension or renewal thereof. In case Lessor owns an interest in the
Materials in and under the Leased Premises less than an undivided fee simple estate therein, then
the payments to Lessor herein provided for shall be paid to Lessor only in propdrtion which
Lessor’s interest bears to the whole and undivided fee therein.

(24. Authority of Les ssor. Tt is eepréssly agived that no change oF division of the
ownership of the Least Prettives or any parhof thé sine, however arising or effected, shall
operate'te increase the oblizations or ditiiish the rights of.Lessee hereimder. Notwithstanding
any other a¢tual: or Gohstnittive knowledge ‘or: notice whatsoever thereof, Lesste shall nor be
bound by such chunge:or division lintil it hias received a copy of the assignment or other eviderice
of renal . In the event of an assignment or transfer of a divided interest in thé Leased Premises,
the rentals payable hereunder shall be apportionable as between the several owners according: to
ths gurftive urea or undivided interest of each, ‘and default in rental payment by one shall not
affect, the rights of the other owners of the Leased Premises.

25.  Roroe Majeure. Should Lessee ‘beypteverited by any cause reasonably beyond
Lessee’s control, including, without limitation, flood, wittdstorm,.dtiy federal or state law or any
other order, rule or regulation or governmental aii ae

    

  

d i ‘of whieh Lessee was unawire through

the normal exercise of business diligence; Ktigdtion, pct ofGod, atid act of public enemy, from
complying with any express:or iniplisd coverianit of this‘Leago; then, while so prevented and fora
reasonable period ‘of. dine thereafter (not: tovexceed thirty (30) days), Lessee’s obligation to
comply with such eovenant shall :be'sispendeds aiid Lessee shall notify Lessor of the beginning
and ending até of eagh such period of force majeure.

26. Lossor Default, Lessor agrees that Lesive ‘shall have the right in the event of a
default by Lessor of obligations to. naadke. fay OM aity enoutyibtdtibe Gr dbligation, to pay:
taxes that‘directly thresten the. possessionof Lessee-nid provided that Lessec.is outrent in ail of
‘Léssee’s obligations. ‘Lessee may make such payments and be dllowed an offset against sums
due Lessor. However, the zigtit of Lessee’to make Sich payrticnts Is specifically conditioned on
Lesste’s compliance and performeines with all terms and conditions of the Lense and the aotudl.
threat of the taking of the premises or interforénce with Lessee’s possession by-such defaults by
Lessor.

27.  Memotandym. ‘The: parties agree that this Lease shall not b¢ filed of record, but
that instead, the parti¢s shall sign and file a Memorandiim of Lease in-the forniattached héveto: as
Exhibit B.

  

28. Validity, A determination that‘any pioViilon of dils Lease fs vnenforeedble oy:
invalid shall not affect theenforecability or validity ofany other provision, and the determitintiati
that the application fe provision-of this; Lease to tity erson or eifoumstance is Mlezal-or

ungnforocible shall not affect the enforceability oF validity of such provision as.it may apply to
Other petsons or ciroyimatatiias.

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Fa he oe, A CERTIFIEDCOPY
P age 10 i e ie MARC] A. GILBERT
5! Pee DISTRICT CLERK
VB. oo E COCKE COUNTY, TEXAS
“a iSigermetethae By: CODY SHIRES, Deputy
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ead mnae
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 13 of 86 PagelID #: 253

‘29, ‘Waiver. No waiver of any provision of this’ Lease ‘and ‘no consent. to ay.
departinént herefrori ‘shall be effegtive unless or‘until the same shall be in waiting and. signed by
the party agaist whorn such. walter ot consent shall be claimed, and-then sich waiver'ér consent
stiall. be effective only as to the specific instarioe and for the specific. purpose for which it 18
given.

30, Complete Apreement, This ‘Lease expresses the complete agreement beiween
Lessor and Lesgee, No other oral or written agreemients;exist. febtcet Lessor and Gessee-which
are not expressed herein, The sgrecineits expressed herein cannot be amended or waived except
by an instrument in writing signed by‘ both Lessor and Lessee.

31.  Gouwhtenparts, This Lease may be exectited' in any one: or more coutitexpiirts; cach.
of which shall constitite an original, but’ all of which together shall constitute but, one and the:
aetne Lease.

[Signatures Follow]

ACERTIFIED COPY
MARCI A. GILBERT

; DISTRICT CLERK

#y~ COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

Fage 11

 
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 14 of 86 PageID#: 254

IN WITNESS WHEREOF, Lessor and Lessee have executed this Lease as of the date

first written above.

LEO AND MABEL SCOTT CHARITABLE
TRUST

By: THE FROST NATIONAL BANK,
Co-Trustee

 

 

By: OKLAHOMA CHRISTIAN UNIVERSITY,

Co-Trustee

 

 

 

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& CERTIFIED COPY
MARC) A. GILBERT
DISTRICT CLERK,

4 5 COCKE COUNTY, TEXAS
‘a Sig eet By: CODY SHIRES, Deputy
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 15 of 86 PageID #: 255

By NORTH CENTRAL TEXAS COLLEGE,
Co-Trustee

 

 

 

 

Co-Trustee

 

 

 

 

Denton, Texas 76205

Page 13

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YT ints ce A CERTIFIED COPY

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Se "nh
fi if Lae MARCI A. GILBERT
: 3 $Y eH DISTRICT CLERK
B wig SOOKE COUNTY, TEXAS

Sa el By: CODY SHIRES, Deputy
ree
 

») BEFORE ME; 5 the undersigned authority, on this day personally appeared
> known to me to be the person whose name is subscribed

lie Fore going instrument and acknowledged to me that such person executed the same in the
capacity and for the purposes and consideration therein expressed.

) UNDER MY HAND AND SEAL OF OFFICE this ZY day of
, 2011.

  
 
 
  

7 a ee ee ge ea es a ee ee oe ee

DANA HOLLEY

\ Notary Public i
+ NGBY Slate of Oklahoma
{ Commission #{0OG48Ob" Kira USOtiA i

 

 

 

STATE OF “T'E )
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COUNTY OF aes tz. )

BEFORE ME, the undersigned authority, on this day personally appeared
“Thy 4 known to me to be the person whose name is subsoribed
to the Fitectan insteurient zal Gieewledeed t tne that such pmagn exonaiel the exe tm tho
capacity and for the purposes and consideration therein expressed.

GIVEN UNDER MY HAND AND SEAL OF OFFICE this {Ui day of

 

   

 

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 16 of 86 PageID #: 256

A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK.

PP COOKE COUNTY, TEXAS

oc By: CODY SHIRES, Deputy
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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 17 of 86 PageID #: 257

 
  

 

 

 

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STATIBOF “7EYAS =)
)
COUNTYOF Cebke Jj
oe ME, the Hace authority, on this day pérsonally appeared
DPI... Sap ol to ms to be the person whose namo is subscribed
to the rogalig ‘inst ment and acknowl :to me that such person executed the same in the
capacity and for the purposes and consi on therein expressed.
GIVEN UNDER MY HAND AND SEAL OF OFFICE this_{/ot day of
. » 2011.
STATE OF TEES
‘My Conunission Expires:

BEFORE ME, the undersigned authority, on this day personally appeared

\ _». known to me to be the person whose name is subscribed
* ‘the feroguine ioe and acknowledged to me that such person executed the same in the
capacity and for the purposes and consideration therein expressed.

GIVEN UNDER MY HAND AND SEAL OF OFFICE this(3*“~day of
uae 2011.

  

   
 
 

 
 
 

 
   

    

CHRISTIE GONZALEZ : STATE OF * 14%, a
oTATE Or es My Commission Expires:

 

My Comm. Exp. 03-22-9014

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MOVIE ITY YY YP YY yyy: wRTVT YY

 
 

A CERTIFIED COPY
MARCIA, GILBERT

i DISTRICT CLERK

fF COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

  
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 18 of 86 PageID #: 258

STATE OF “TEYAS )
)
COUNTY OF _CODke )

BEFORE ME, the undersigned authority, on this day personally appeared Charles:N,
Davis, Ti, known to me to be the person whose name is subsoribed to the foregoing insttument
and acknowledged tome that he executed the same in the capacity and for the purposes und
consideration therein expressed. .

GIVEN UNDER MY HAND AND SEAL OF OFFICE this 2% day of
Wain. 2011.

     

STATE OF JEXAS
My Commission Expires;_3-\ls- Bole}

 

 

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& ON eee, A CERTIFIED COPY

j e 24 AMRCI A. GILBERT
i of 1S3 DISTRICT CLERK
43h, fof COOKE COUNTY, THUS

et gmaitigeys By: CODY SHIRES, Deputy
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Nenana a
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 19 of 86 PageID #: 259

 

THE FOLLOWING PARCELS LOCATED IN LOVE COUNTY, OKLAHOMA,
TOWNSHP 9, SOUTH RANGE 1 EAST: .

Tract Agres

Section 22 Lots 4 & § 27.45
Section 23 SW/4 160.00 ©
Section 23 SE/4 160.00
Section 24-8/2 NW/4 and NW/4 SW/4 11.63
Section 25 5/2 NW/4 and SW/4 §2.50
Section 25 W/2 NW/4 NW/4 4.6901
Section 26 NE/4 and W/2 SE/4 NW/4 180.00
Section 26 Lots'3, 4, 5 and N/ SE/4 and SE/4 SE/4 196.70
Section 26 Lot 1 and E 15.55 acres of Lot 2 and NE/4

NW/4 and E/2 SE/4 NW/4 110.20
Section 26 W 5.25 acres of Lot 2 5.25
Section 35 Lot 2 8.60
Section 35 Lots 1 and 3 48.60
Section 36 NW/4 NW/4 NW/4 10.00
Section 36 SE/4 NW/4 NW/4 and E/2 SW/4 NW/4

and all SE/4 NW/4 and Lot 3 W of Hwy 77 47.50.

Totel “£023.1201.

A CERTIFIED COPY

MARCI A. GILBERT

3 DISTRICT CLERK
COOKE COUNTY, TEXAS

MS gy: CODY SHIRES, Deputy

 
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 20 of 86 PagelID #: 260

    

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BQO4 rounsyluaria De EXE Be o a Rusael Leys Gounty Clark
Dentan : K wads heen i ND UVE: 5 eh >
_-  PHIS MEMORANDUM OF LEASE (the “Memorandum”) is dated the 3a day of
33 ie ; 2011 by and among OKLAHOMA CHRISTIAN UNIVERSITY, NORTH
_CEN TEXAS COLLEGE, UNITED WAY OF COOKE COUNTY and THE FROST
NATIONAL BANK, as Co-Trustees of the Leo and Mabel Scott Charitable Trust (“Lessor”) and
Charles N. Davis, III (“Tenant”),

   
     

RECITALS:

A. Lessor and Tenant have entered info that certain Mining Lease dated the date
hereof calling for a lease of the: Property desoribed. on Exhibit “A” attached hereto and made a
part hereof by this reference for all purposes, (the.“Lease”);

B. Lessor and Tenant desire to reflect of record the existence of the Lease and the
Option and therefore have entered into this Memorandum.

NOW, THEREFORE, fot and in consideration of Ten Dollars and other good and
valuable consideration, tho receipt and sifficiency of which is hereby acknowledged by the
parties hereto, the parties hereby state and agree as follows:

1. The parties desixe to record this Mémorandimi to reflect the existence of the Lease
"and the rights ofthe Lessor and'the Teriant in accordance therewith,

2, __ Usssor.and Tenant hereby specifically agree that.in.the:eyent that thé ‘Tenant shall
disfanilt ov fail to perfirrn any:of its obligations under aiid pursyiinit.to the Lease, or-should the.
Lease terminate for any treason, the. Lessor shall be éntitled to. exconte-a release and temtiination
of this Memorandum, The Tenant hereby grants and. appoints to the Lessor, 3 power of attorney,
such power of attoiney being edupled ‘With ani. intetest. aid to constitute a durable power of
attorney whereby the power of attorney shall survive the death, termination or liquidation ofall
or any of the persons or entities, domprisitig the Tenant and shall confinus notwithstanding the
batiktuptey of any of the peisons or enitities comprising the Teritint. This power of attomey. shall
be granted for the puypose of exéetiting. on behalf of the ‘Tenant,. and all persons. or entities
comprising ‘the Tenant, the. élease ahd: termination of this Mémorandum in-the event that the
Tenant shall. default under or fall to: perform any of tts obligations under the Lease, shall fail to
exertise:the Option or.in the event that the Lease or the: Option shall terininate for any-reagon.

on Defined terms used herein shall bear the same meaning as set forth in the Lease
and the exhibits attached thereto except as otherwise provided herein,

[Signature Page Follows]

wt en,

2 ae, A CERTIFIED COPY

S “8 MARCI A, GILBERT
293 }S3 DISTRICT CLERK

a F.3  COOKE COUNTY, TEXAS
Na —_ qa By: CODY SHIRES, Deputy
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Feb eathl
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 21 of 86 PageID#: 261

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as of the date set forth above.

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arene 2x20 pm ‘Pg 0464:0470

00 oc.

‘$0, up
Fee ugtol Ls all- Love Coat County Cit
IN WITNESS WHEREOF, the parties hereto have executed this Memorandum effective

LESSOR;

LEO AND MABEL SCOTT CHARITABLE
TRUST

By: THE FROST NATIONAL BANK,

 

 

Vice President

By: OKLAHOMA CHRISTIAN UNIVERSITY,

Co-Trustee

 

 

 

By NORTH CENTRAL TEXAS COLLEGE,

Co-Trustee

 

 

By UNITED WAY OF COOKE COUNTY,

 

 

Co-Trustee
By La i . re Be
Name; —7ose wed br.

 

 

 

Title:__Trustee,

too, i“
&S fe er A CERTIFIED COPY
Z &e. ‘ES MARCI A, GILBEAT
iv } 3 DISTRICT CLERK
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COOKE COUNTY, TEXAS
af By: CODY SHIRES, Deputy
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 22 of 86 PageID #: 262

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3 Mee J. DAVIS, a

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i 3 Set MARCIA. QHLBERT

73 igi OESTRIGT CLERK

ae sod COOKE COUNTY, THe

ition «By: CXROY SHIRES, Depisty

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Case 4:19-cv-00651 Document 1-3

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RQNRENE”
COUNTY OF Oklahoma }

BEFORE
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Filed 09/09/19 Page 23 of 86 PageID #: 263

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Fab 8 2500 an ee en

Stell spa spleen Clerk

the undersigned authority, on this day personally appeared
, known to me to be the person whose name is subscribed

to the foregoing t instrimient and ablenowhedged to me that such person executed the same in the
capacity and for the purposes and consideration therein expressed.

tyler UNDER MY HAND AND SEAL OF OFFICE this es day of

» 2011,

A teeter rye tee j

I DANA HOLLEY

| AL Nolary:-Publle

1M Sista af Oklshoma

| Goomigsion # 10001890 -Easiros 03/0114

STATE OF TEXAS )
= COUNTY OF _ Cink é

 

 

BEFORE ME, the undersigned authority, on this day personally appeared
known to me to be the person whose name is subscribed

to the foregoing fcanent and acknowledged to me that such person executed the same in the
capacity and for the purposes and consideration therein expressed,

GIVEN UNDER MY HAND AND SEAL OF OFFICE | this Lo day of

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STATE OF TE

— : te RY Toe.
TEMAS
My Commission Expires;__3-\- 20 uf,

A CERTIFIED COPY
MARCIA. GILBERT
DISTRICT CLERK
fF COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 24 of 86 PageID #: 264

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0172000042 2
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) Shelly pl bo Love Feoxniy tore

 

BEFORE ME, the undersigned authority, on this day personally appeared
3 9 known to me to be the person whose name is subscribed
to the foregoing insroment and acknowledged to me that such person executed the same in the
capacity and for the purposes and. consideration therein expressed.

VEN UNDER MY HAND AND SEAL OF OFFICE this | GE day of
» 2011,

    

   

   

‘ er ev: ..., known to me to be the person whose name is subscribed
to the Sores sh 00 ae and nd ackiiowledged to me that such person executed the same in the
capacity and for the purposes and consideration therein expressed.

gs SVEN UNDER MY HAND AND SEAL OF OFFICE this at, day of

  
  
 
 

 

 

 

Mbt NOT rARY PUBLIC SoHo ER . THE
CHRISTIE GONZALEZ STATE OF
\) ES oTATE OF .My Commission Beata 3 Bano
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f3f Net MARCI A. GILBERT
PO! i53 DISTRICT CLERK
+5 ign g _ COOKECOUNTY, TEXAS

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 25 of 86 PageID #: 265

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1-2012-000284 Book 0714 Pg: 460

Q1/20/2012 2:20pm Pg 0464-0470
Fee: $25.00 Doo: $ 0.00

STATE OF JEYAS Shay Russo - Love Gouhly Cer

COUNTY OF_@OOKE

BEFORE ME, the undersigned authority, on this: day personally” ‘appeared Charles N.
Davis, II, known to-me to We: the person-whose name is subseribed to-the foregoing instrijient
and. acknowledged. to nie that_he executed the same in the capacity and for the purposes and
consideration therein expressed.

GIVEN UNDER MY HAND AND SEAL OF OFFICE | this ant day of

a MAE _, 2011.

 

STATE OF EAS -

 

My Commission Bxpires:__8=!1.- So).

 

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Pe A CERTIFIED COPY
iz “NS, TWARCL A. GILBERT
i Si i DISTRICT CLERK
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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 26 of 86 PageID #: 266

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THE FOLLOWING PARCELS LOCATED IN LOVE COUNTY, OKLAHOMA,

TOWNSHIP 9, SOUTH RANGE 1 EAST:

Tract
Section 22 Lots 4 & 5”
Section 23 SW/4
Section 23 SE/4/

Section 24-S/2 NW/4 and NW/4 SW/4V
Section 25 S/2 NW/4 and SW/4/

Section 25 W/2 NW/4 NW/4 /

Section 26 NE/4 and W/2 SE/4 NW/4 /

Section 26 Lots 3, 4, 5 and N/ SE/4 and SE/4 SE/4 7

Section 26 Lot 1 and E 15.55 acres of Lot2 and NE/4’
NW/4 and E/2 SE/4 NW/4
/

Section 26 W 5,25 acres of Lot 2
Section 35 Lot 2

Section 35 Lots 1 and 3

Section 36 NW/4 NW/4 NW/4

Section 36 SE/4 NW/4 NW/4 and E/2 SW/4 NW/4
and all SE/4 NW/4 and Lot 3 W of Hwy 77

Total

Acres
27.45
160,00
160,00
11,63
52,50
4,6901
180,00
196,70

110.20
5.25
8.60

48,60
10,00

47.50
1023.1201

A CERTIFIED COPY
MARCI A. GILBERT

: DISTRICT CLERK

F COOKE COUNTY, TEXAS
rf By: CODY SHIRES, Daputy

 
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 27 of 86 PageID #: 267

A CERTIFIED COPY
MARCI A, GILBERT
DISTRICT CLERK
2 COOKE COUNTY, TEXAS
‘ By: GODY SHIRES, Deputy

 
Case 4:19-cv-00651

59 Po: 208
1-2013-008889 Book 07 0248
10/28/2043. 11:00 am Foca

MEMORANDUM OF LEASE ASSIGNMENT AND AMENDMENT

THIS MEMORANDUM OF LEASE ASSIGNMENT AND AMENDMENT OF
MINING LEASE (the “Memorandum”) is made and entered into effective ag of Sepluahucds
2013 (the “Effective Date”) by and among Red River Aggregates, LLC, a Texas limit liability
company registered and authorized to do business in the State of Oklahoma (“Assignor”), Redi-
Mix, LLC, a Texas limited liability company (“Assignee”), and by Oklahoma Christian
University, North Central Texas College, United Way of Cooke County and Frost Bank,
formerly The Frost National Bank, as Co-Trustees of the Leo and Mabel Scott Charitable Trust
(“Lessor”).

RECITALS

. WHEREAS, Lessor and Assignor entered into that certain Mining Lease dated June 3,
2011, a memorandum of which was recorded al 2:20 PM on January 20, 2012 in the office of the
Clerk for Love County, State of Oklahoma at 1-2012-000284 Book 0714 Pg: 464-0470 calling
for a lease of the Property described on Exhibit | attached hereto and madea part hereof by this
reference for all purposes, (the Lease"); and

WHEREAS, Lessor, Assignor and Assignee have entered into that certain Assignment,
Consent to Assignment and Amnendment of Lease dated the date hereof and made a part hereof
by this reference for all purposes (the “Assignment”; and,

WHEREAS, Lessor, Assignor and Assignee desire to reflect of record the existence af
the Assignment and the rights of the Lessor, Assignor and Assignee in accordance therewith;

NOW, THEREFORE, for and in consideration of Ten Dollars and other good and
valuable consideration, the receipt and sufficiency of which is hereby acknowledged by the
parties hereto, the parties hereby state and agree as follows:

L The parties desire to record this Memorandum to reflect that the Assignor has
with Lessor’s consent assigned its interest as lessee under the Lease to Assignee
and that the lease has been amended In various respects as provided for in the
Assignment.

2, The parties hereby specifically agree that in the event that the Assignee shall
default or fail to perform any of its obligations under and pursuant to the Lease, or
should the Lease terminate for any reason, the Lesgor shall be entitled to execute a
release and termination of this Memorandum. Assignee hereby grants and
appoints to the Lessor, a power of attornay, such power of attorney being coupled
with an interest and to constitute a durable power of attorney whereby the power
of attorney shall survive the death, termination or liquidation of all or any of the
persons or entities comprising the Assignee, This power of attorney shall be.
granted for the purpose of executing on behalf of the Assignee, and all persons or
entities comprising the Assignee, the release and termination of this

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Document 1-3 Filed 09/09/19 Page 28 of 86 PagelD #: 268

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MARCI &. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 29 of 86 PageID #: 269

Memorandum if the Assignee ahall default under or fail to perform any of its
obligations under the Lease, or if the Lease shall terminate for any rearon.

3, Defined terms used herein shall bear the same meaning as set forth in the Lease
and the exhibits attached thereto except as otherwise provided herein.

IN WITNESS WHEREOF, the patties have exeouled this Agrevment as of the date first
above written, :

LESSOR, LEO AND MABEL SCOTT
CHARITABLE TRUST

By: Frost Ba

 
 
 

 

 
 

ile: John We eatrredamanrr
, Vice Presnient

By; Oklahoma Christion University, Co-Trusteo

By.
~ Name:
Titles,

 

By: North Central Texas College, Co-Tmatge

By
Nano:
Title:

 

By: United Way of Couke County, Co- Trustes

By.
‘Name
Title;

 

 

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Momorandum if the Aasignee shall default under or fail to perform any of its
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3 Defined terms used herein shall boar the same meaning as set forth in the Lesse
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IN WITNESS WHEREOF, the parties have oxecuted this Agreement as of the date first
above written,

LESSOR, LEO AND MABEL SCOTT
CHARITABLE TRUST

By; Frost Bank, Co-Trustee
By.

Name:
Title;

 

By-Oldahoma Christian University, Co-Trustee

 

By: North Ceniral Texas College, Co-Trustes

By.
Name:
Title:

 

By: United Way of Cooke County, Co- Trustee

By.
Name:
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LESSOR, LEO AND MABEL SCOTY
CHARITABLE TRUST

By: Frost Bank, Co-Trustee
By.

Name:
Title:

 

 

By: Oklahoma Christian University, Co-Trustee

By.
Name:
Tithe:

 

By: North Central Texas < Co-Trustee

 

By: Unlied Way of Cooke County, Co« Trustee

By,
Name:
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CHARITABLE TRUST

By: Frost Bank, Co-Trustee
By.

Name:
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By: Oklahoma Christlan University, Co-Trustee

By
Name.
Title:

 

 

By; North Central Texas Colloge, Co-Trustea

By
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By: United Way of'Coake County, Co- Trustee

 

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 33 of 86 PagelID #: 273

ASSIGNOR:

Red River Aggregates, LLC
tha Litee PE

By: Charles N. Dayjaf UU
Its Chairman
ASSIGNEE

 

 

STATE OF TEXAS §
COUNTY OF DEwtoV’ §
On this _2¢ day of __S€peT~ , 2013, personally appeared before me Charles

N, Davis, Ill, as Chairman of Red River Aggregates, LLC a, Texas limited liability company,

and that said instrument was signed by said person In such capacity.

SEAL
ahh CRYBIAL R. KING Signature) C7" 7 "7
) “Nirconmiagnswrsa'"|| My commission expites;_ SapT 29 20/4

Septombar 20, 2014

 

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COUNTY OF Tarra re + § State of Oxlahoma

On this 2lp day of Spt , 2013, personally appeared before me Niel L,
Poulsen, who being by me duly affirmed, did say that he is the Vice President of Redi-Mix, LLC,
a Texas limited liability company, and that said Instrument was signed by said person on behalf
of said corporation.

Bee SANDRA ALLEN nll i. Lhe
My Commision Exolen L7Gignature)
Marah 08, 2017 My commission expires q

 

Page 3

A CERTIFIED COPY
AARC! A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS

 
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 34 of 86 PageID #: 274

STATE OF _Jexaq
COUNTY OF_ Bevan, ‘

BEFORE MB, the undersigned authorily, on this day personally appeared

ayy... known to me to be tho person whose name is aubsoribed (0 tho

foregoing instrament and acknowledged to me that such person exeauted the sae in tho
capacity und. for the purposes and consideration therein expressed,

GIVEN UNDER. MY HAND AND eee i day of 27", 2013,

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CHRISTIE GONZALEZ
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STATE OF
COUNTY OF

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foregoing instrument and acknowledged to me that such person executed the samo in the
cupacity and for the purposes and‘consideration therein oxprossed,

GIVEN UNDER MY HAND AND SEALOF OFFICE this. dayof__, 2013.

 

NOTARY PUBLIC IN AND FOR THE STATE
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iS! is} DESTRICT CLERK.
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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 35 of 86 PageID #: 275

STATE OF
COUNTY OF
BEFORE ME, the undersigned authority, on this day personally appeared
known to me to be the person whore name Is subscribed to the
foregaing instrument and acknowledged to me that such person executed the same In the
capacity and for the purposes and consideration therein expressed.
GIVEN UNDER MY HAND AND SEALOF OFFICE this___ day of ___, 2013.

 

laa PUBLIC IN AND FOR THE STATE
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My commission expires:

STATE oF Okla bomen
COUNTY OPO! Ia hom

BEFORE ME, the undersigned authority, on this day parsonally appeared
Srephrs Fle, , known to me to be the parson whose name in subscribed to the
foregoing Instrument and acknowledged to me that such person execuled the same in the
capacity and for the purposes and consideration therein expressed,

GIVEN UNDER MY HAND AND SEALOF OFFICE this a-7 day of spt 5 2013.

 
 
     

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DISTRICT CLERK
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 36 of 86 PageID #: 276

 

STATE OF Aye

county or (sete
iD BEFORE ME, the undersigned authority, on this day personally appeared
‘Lyle, , known to me to be the person whase name is subscribed to the

foregoing instrument and acknowledged to me that such person executed the same in the
capacity and for the purposes and consideration therein expressed,

GIVEN UNDER MY HAND AND SEALOF OFFIC§ this 4 day ot Seal, 2013.

LYNN C, PETERS
Notary Public, Sate of Taxus

 

My Commission Expitos
Fabruary 24, 2014

 

My commission expires:,

STATE OF
COUNTY OF

BEFORE ME, the undersigned authority, on this day personally’ appeared

known to me to be the person whose name is subscribed to the

foregoing instrument and acknowledged to me that such person executed the same in the
capacity and for the purposes and consideratlon therein expressed,

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STATE OF
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BEFORE ME, the undersigned authority, on this day personally appeared
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capacity and for the purposes and consideration therein expressed,

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GIVEN UNDER MY HAND AND SEALOF OFFICE this day of , 20)3,

 

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My commission expires:

 

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BEFORE the undersigned authority, on this day personally appeared

known to me fo be the person whose name Is subscribed to the

foregoing Instrument and acknowledged to me that such person executed the same fn the
capacity and for the purposes and consideration therein expressed,

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* By: CODY SHIRES, Deputy |
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 38 of 86 PageID #: 278

EXHIBIT 1
DESCRIPTION OF THE LEASED PREMISES

Situated in the County of Love, State of Oklahoma, Township 9 South, Range | East, of

the Indian Base and Meridian, being more particularly described as follows:
Section 22 Lot 4

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

20,05 AC
Section 22 Lot 5 10.87 AC
Section 22 Accreted Land 85,32 AC
Section 23 SW/4 160,61 AC
Section 23 SE/4. 159.90 AC
Section 24 §/2 NW/4 West of BNSF Railroad 34.16AC
Section 24 NW/4 SW/4 West of BNSF Railroad 10.78 AC
Section 25 W/2 NW/4 NW/4 West of BNSF Railroad..........ccsssssesseresesesessesnpeeenereenenn 4.81 AC
Section 25 $/2 NW/4 West of BNSF Railroad 12.99 AC
Section 25 SW/4 West of BNSF Railroad 49.29 AC
Section 26 NE/4 160.22 AC
Section 26 SE/4 NW/4 28.51 AC
Section 26 N/2 SE/4 80.27 AC
Section 26 SE/4 SE/4 40.02 AC
Section 26 NE/4 NW/4 40,56 AC
Section 26 Lot 1 20,85 AC
Section 26 Lot 2 0.15 AC
Section 26 Lot 3 7.14 AC
Section 26 Lot 4 .,..0.. 0.20 AC
Section 26 Lot 5 cscs 36.71 AC
Section 27 Accreted [and
Section 35 Lot | oe 39,44 AC
Section 35 Lot 2,00: asoses 12.28 AC
Section 35 Lot 3 West of U.S. Highway No. 77 sccsssvsccsssuscessuynsesssse we 13,52 AC
Section 35 Accreted Land 21.74 AC
Section 36 NW/4 NW/4 NW/4 10.01 AC
Section 36 SE/4 NW/4 NW/4 7.46 AC
Section 36 E/2 SW/4 NW/4 uuu 17.12 AC
Section 36 SE/4 NW/4 West of U.S. Highway NO. 77 ..scsssssessssresemesenseeseeseennd 40 AC

Sub Total 1090,38 AC

Land within limits of Red River wicsscssssseisresesseseces

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cserrererveey 160.02 AC

Total 1250.40 AC

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 39 of 86 PageID #: 279

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MARCI A. GILBERT

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7 COOKE COUNTY, TEXAS
* By: CODY SHIRES, Deputy

 
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states, or between citizens and the federal government; and 6) Institutes a standing commission to
resolve any future disputes between Oklahoma and Texas. The compact went into effect August 31,
2000, when both the United States Senate and the House of Representatives approved the Red
River Boundary Compact as Joint Resolution 72.

From: Steve Schmitz [mailto:sschmitz@B29Investments.com]
Sent: Monday, June 25, 2018 2:38 PM

To: David Behring <dbehring@us-concrete,com>

Subject: Stark Ranch, Cooke County, TX

David,

Thank you for taking the time to visit with us in Gainesville last week. At our meeting, you
mentioned wanting additional information regarding the methodology used in determining our
property boundary line along the Red River,

To follow up on your request for additional information, we engaged a Licensed State Land Surveyor
and Registered Professional Land Surveyor by the name of Nedra Foster to determine Stark Ranch —
West, LLC’s legal boundary along the Red River, There are only a few surveyors in the state of Texas
who have the qualifications to determine gradient boundary lines, and Nedra was highly
recommended to us as one of the most knowledgeable gradient boundary surveyors {n the state,
with particular experience along the Red River.

Nedra is an expert in determining boundary lines along Texas river banks and has extensive
experience in determining gradient boundaries. Nedra has been a Licensed State Land Surveyor
since 2000 and a Registered Professional Land Surveyor since 1999, The LSLS designation is a special
certification reserved for surveyors who perform work under which the state of Texas or federal
government may have an interest (such as along river banks). I’ve attached a copy of her resume
which summarizes her past experience.

The gradient boundary concept and methodology that Nedra relied upon was developed ina U,S.
Supreme Court case involving the boundary between Oklahoma and Texas along the south bank of
the Red River (State of Oklahoma v. State of Texas, 260 U.S. 606 (1923)), Under the direction and
instruction of the U. S, Supreme Court, surveyors Arthur Stiles (representing the interest of Texas)
and Arthur Kidder (representing the interest of the United States and Oklahoma) developed the
procedures under which inland watercourse boundaries are determined in Texas.

Based on the guidance developed through such case, Nedra used the following methodology to
determine the gradient boundary:

1) Locate a “qualified bank” within a reasonable vicinity of the project. This is an accretion bank
that the river has built during times of high water.

2) This bank is measured from the top (where the flowing water just reaches - overtops - and flows
back into the river) down to the toe (where the bank and bed of the river meet). Midway between
this top and toe is the gradient boundary.

3) If the water is flowing stably, it can be used as a ‘plane! from which to work. At the “qualified
bank,” the relationship between the surface of the stably flowing water and the gradient boundary

    
  

 
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 41 of 86 PageID #: 281

will be noted. For example - on a given day the water may be 1.2 feet below the gradient boundary,
Points will be taken through the project area at 1.2 feet above the stably flowing water. These
points will be on the gradient boundary, By using the water surface, the natural grade of the river is
followed.

We are confident in the accuracy of Nedra’s work and continue to take the position that Redi-Mix’s
operations have trespassed on our ranch and converted sand from our property.

We look forward to hearing from you so that we can work toward a prompt business resolution that
will make us whole for the damages Stark Ranch — West, LLC has suffered fram Redi-Mix’s trespass
and conversion of sand from our property.

Regards,
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fap COOKE COUNTY, TEXAS
aye By: CODY SHIRES, Deputy

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We look forward to hearing from you so that we can work toward a prompt business resolution that
will make us whole for the damages Stark Ranch — West, LLC has suffered from Redi-Mix’s trespass
and conversion of sand from our property.’

Regards,

Steve Schmitz

From: David Behring <dbehring@us-concrete.com>
Sent: Wednesday, June 20, 2018 9:03 AM

To: Steve Schmitz <sschmitz@B29|nvestments.com>
Subject; Re: Message and Letter from last week

Sounds great. See you then.

Sent from my iPhone

On Jun 20, 2018, at 9:01 AM, Steve Schmitz <sschmitz@B29|nvestments.com> wrote:

Yes, that works great. Please come to my office on the square in downtown Gainesville
— 201 W, California St. It is the NW corner of the square.

| would like for you and | and Myranda Shugart to meet (she is the land manager in our
office and understands all the maps)

We have a helicopter and | could line up a quick tour from the air as well after we meet
if you would like. It may help you better understand the situation.

Best,

Steve

From: David Behring <dbehri -concrete.com>
Sent: Wednesday, June 20, 2018 8:56 AM

To: Steve Schmitz <sschmitz@B29|nvestments.com>
Subject: Re: Message and Letter from last week

Yes sir. Does 2:30 work for you?

Sent from my iPhone

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, MARCI A. GILBERT

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By: CODY SHIRES, Deputy
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 43 of 86 PagelID #: 283

EXHIBIT
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MARCI A, GILBERT
DISTRICT CLERK
# COOKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 44 of 86 PageID #: 284

Begin forwarded message:

From: David Behring <dbehring@us-concrete.com>

Date: July 9, 2018 at 10:47:53 AM CDT
To: Steve Schmitz <sschmitz@B29Investments.com>
Subject: RE: Stark Ranch, Cooke County, TX

Steve, .

We believe that the section of the Red River near ;
Thackerville falls under special rules as determined by the
Red River Boundary Compact signed in 1999 by Governors
Bush and Keating. The method described by Ms. Foster of
taking the median point between the vegetation and the
floor of riverbank is not what is described in the Boundary
Compact.

We continue to believe that we are in the right with our
mining program and are mining within the “constant
vegetation line” on the southern side of the Red River,
The river rises and falls over the sand bars located on the
southern side with each rain event upstream, causing the
constant vegetation to be further south than Ms. Foster Is
showing on the documents that you have provided us,
Further, what this will really boils down to is a land
dispute between the Scott Trust and Stark Ranch. We are
mining what we believe to be property of the Scott Trust
and have paid them a royalty accordingly. If Stark Ranch
would be found to own what has been mined, the royalty
would have to be extracted from the Scott Trust in order
to pay royalties to Stark, .

| have included a summary of the Red River Boundary
Compact below for your review,

As | stated to you previously, Redi-Mix has not
intentionally trespassed onto Stark Ranch’s property, We
believe that we are within the boundaries of Scott Trust
and have acted with that understanding. It is our
intention to be an honorable and friendly neighbor and we
are happy to continue this dialog until all of the parties are
satisfied.

Sincerely,

David A, Behring

Regional Vice President
General Manager
South Central Region

A CERTIFIED COPY
PARC! A. GILBERT
DISTRICT CLERK
COCKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

  
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 45 of 86 PageID #: 285

EXHIBIT
"7 (; A]

ACERTIPIED COPY
MARCI A, GILBERT
DISTRICT CLERK
COCKE COUNTY, TEXAS
By: CODY SHIRES, Deputy

 
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 46 of 86 PagelD #: 286

Subject; Fwd: Yarbrough Ranch - Cooke County, TX ;
Date; 7/18/2018 5:07 PM |
From: "Steve Schmitz" <sschmitz@B29Investments.com>

"Kelly Bub Smith" <ksmith@B29Investments.com>, "kbiermacher@krcl.com"

To: <kbiermacher@krcl.com>

 

Sent from my iPhone

Begin forwarded message:

From: mi 9
Date: July 18, 2018 at 5:06:38 PM CDT

To: dbehring@us-concrete.com
Subject: Yarbrough Ranch - Cooke County, TX

David,

Thank you for your e-mail, We want to be good neighbors as well, but we respectfully
disagree with your view that the location of the property boundary is further south than
shown on Nedra Foster's survey. We also believe you are not within the boundaries of your |
mining agreement with Scott Trust. . a |

 

After carefully reviewing Nedra Foster's survey, the Red River Compact, and Texas law, we | |
continue to believe that the southern boundary of the river was altered by-your conduct.

Because the boundary line changed as a result of your conduct, Texas law supports our belief

that some of the property north of the natural gradient boundary reflected on Nedra Foster’s

sutvey before you began harvesting sand and gravel is our property. Further, we believe that

your mining activity has clearly surpassed even the current gradient boundary line that is

reflected in Nedra Foster’s survey.

We also do not believe that the Red River Compact applies when determining the location of
the property boundary, The text of the Red River Compact itself states that the principal
purpose of the statute is “to establish an identifiable boundary between the states of Texas
and Oklahoma along the Red River... without interfering with or otherwise affecting private
property rights or title to property.” The statute was created for political purposes and is not
the governing authority to establish boundaries of private land owners.

Regarding the royalty payments to Scott Trust, the fact that you paid royalties to Scott Trust
for the sand and gravel that you took from our property does not excuse the fact that you
have failed to pay the rightful owner - us. Therefore, it would not be proper for us to seek to
extract royalties from Scott Trust as you suggest.

     
 

We would like to suggest scheduling a meeting between you, your surveyor, and lawyer and
me, my surveyor (whose work you have previously seen), and my dirt and gravel lawyer.
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 47 of 86 PagelID #: 287

These are business types who can hopefully get us to a resolution without going to court.

Please let me know of your availability to schedule that meeting on August 1 (anytime
after 10 AM) or August 3 (anytime in the afternoon),

Like you, we share the hope of coming to a prompt mutually negotiated business resolution.
Thank you,
Steve

Sent from my iPhone

A CERTLPIED COPY

# sy a MAARRCI A. GHLBERT
PSf Fae DISTRICT CLERK
£3) (“F  COGKE COUNTY, TEXAS
“2 WN

 

 
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 48 of 86 PagelID #: 288

 

174
Stark Ranch-VWest, LLC vs, David Behring
Redi-Mix, LLC 5/17/2019
CAUSE NO. CV18-00515
2 STARK RANCH-WEST, LLC * IN THE DISTRICT COURT
tk
3 |] VS. * COOKE COUNTY, TEXAS
*

4 | REDI-MIX, LLC * 235TH JUDICIAL DISTRICT
5
6 Filed: 7/2/2019 8:57 AM

Marci A. Gilbert
7 District Clerk

REPORTER'S CERTIFICATION Cooke County, Texas

Trac

8 DEPOSITION OF: DAVID BEHRING y Chauncey
MAY 17, 2019

9
10
11 I, Lisa Simon, Certified Shorthand Reporter in

12 | and for the State of Texas, hereby certify to the

13 | following:

14 That the witness, DAVID BEHRING, was duly

15 | sworn by the officer and that the transcript of the oral
16 | deposition is a true record of the testimony given by

17 | the witness;

18 »that the deposition transcript was submitted
19 4) We 40 atric “4 to the witness, DAVID BEHRING,

20 c/o thd attorney for the witness, Ms. Katlyne N. Miller
21 | 2300 North Field Street, Suite 1800, Dallas, Texas

22 | 75201, for examination, signature and return to Steve

23 | Gentry & Associates, Inc., 5115 North, re ie Avenue, |
24| Suite 202, Mesquite, Texas 75150 by Niue | 24 AGIA
25 That the amount of time used) by each party at

 

 

ACERTIFIED COPY
MARCIA GILBERT
DISTRICT CLERK
COOKE COUNTY, TEKAS
i By. TRACY CHAUNCEY, Deputy"

   

 

 

STEVEN H. GENTRY & ASSOCIATES, INC. (214) 321.5333
5115 NORTH GALLOWAY AVENUE, SUITE 202, MESQUITE (DALLAS COUNTY) TEXAS 75150
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 49 of 86 PagelID #: 289

175
Stark Ranch-VVest, LLC vs. David Behring
Redi-Mix, LLC 5/17/2019

 

1 | the deposition is as follows:

2 1. MR. BOYD A. MOUSE: 3:49
2. MS. KATLYNE N. MILLER: 0:00
3 3. MR. SCOTT BARNARD: 0:00
4 That pursuant to information given to the
5 | deposition officer at the time said testimony was taken,
6 | the following includes counsel for all parties of
7 | record:
8 1. MR. BOYD A. MOUSE, Attorney for Plaintiff
9 2. MS. KATLYNE N. MILLER, Attorney for Defendant
10 I further certify that I am neither counsel

11 | for, related to, nor employed by any of the parties in
12 | the action in which this proceeding was taken, and

13 | further that I am not financially or otherwise

14 | interested in the outcome of the action.

15 Further certification requirements pursuant to
16 | Rule 203 of TRCP will be certified to after they have
17 | occurred. 5

18 Gertified to by me this = ) day

19 | of CU 30) a

20 an
eh

22 [ Svea

—

7
Lisa Simon, Texas CSR #5057

23 Expiration date: 12/31/2019
Firm Registration #195
24 5115 N. Galloway Ave., Suite 202

Mesquite, Texas 75150
Telephone Number: (214) 321-5333

 

A CERTIFIED COPY
MARCI A GILBERT
DBTRICT CLERK
COOKE COUNTY, TEXAS:

 

 

 

STEVEN H. GENTRY & ASSOCIATES, INC. (214) 321.5333
5115 NORTH GALLOWAY AVENUE, SUITE 202, MESQUITE (DALLAS COUNTY) TEXAS 75150
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 50 of 86 PageID #: 290

 

 

 

Stark Ranch-West, LLC vs. David soning
Redi-Mix, LLC 5/17/2019
1 FURTHER CERTIFICATION UNDER RULE 203 TRCP
2 The original deposition transcript was
3 | was not (returned to the deposition officer
| on Vue Qu
5 If returned, the attached Changes and
6 | Signature page contains any changes and the reasons,
7 | therefor;
8 If returned, the original deposition was
9] delivered to MR. BOYD A. MOUSE, custodial attorney;
10 That $ a1." is the deposition officer's
11 | charges to MR. BOYD A. MOUSE, Counsel for Plaintiff, for
12 | preparing the original deposition transcript and any
13 | copies of exhibits;
14 That the deposition was delivered in accordance
15 | with Rule 203.3, and that a copy of this certificate was
16 | served on all parties shown herein and filed with the
17 | Clerk.
18 Certified to by me this | day
19 | of r ‘
20
21 A
22 { See
Lisa Sinan, Texas CSR No. 5057
23 Expiration date: 12/31/2019
Firm Registration #195
24 5115 N. Galloway Ave., Suite 202
Mesquite, Texas 75150
25 Telephone Number: (214) 321-5333

 

A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
“By: TRACY CHAUNCEY, Deputy .

 

  

 

STEVEN H. GENTRY & ASSOCIATES, INC. (214) 321.5333
5115 NORTH GALLOWAY AVENUE, SUITE 202, MESQUITE (DALLAS COUNTY) TEXAS 75150
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 51 of 86 PageID#: 291

172

Stark Ranch-West, LLC vs. David Behring
Redi-Mix, LLC 5/17/2019

 

CHANGES AND SIGNATURE
WITNESS NAME:DAVID BEHRING DATE:5/17/2019
PAGE LINE CHANGE REASON

 

 

 

 

 

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MARCI A. GILBERT
DISTRICT CLERK

F COOKE COUNTY, TEXAS

"By: TRACY CHAUWCEY, Deputy

 

   

 

STEVEN H. GENTRY & ASSOCIATES, INC. (214) 321.5333
5115 NORTH GALLOWAY AVENUE, SUITE 202, MESQUITE (DALLAS COUNTY) TEXAS 75150
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 52 of 86 PageID #: 292

 

 

 

 

Stark Ranch-West, LLC vs. David sehang
Redi-Mix, LLC 5/17/2019
1 I, DAVID BEHRING, have read the foregoing
2| deposition and hereby affix my signature that same is
3 | true and correct, except as noted above.
4
5
6 DAVID BEHRING
7
STATE OF )
8
COUNTY OF )
9
10 Before me, , on this day

 

11 | personally appeared DAVID BEHRING, known to me (or
12 | proved to me under oath or through:
13 | (description of identity card or other document) to be
14 | the person whose name is subscribed to the foregoing

15 | instrument and acknowledged to me that they executed the

 

16 | same for the purposes and consideration therein

17 | expressed.

 

 

 

 

18 Given under my hand and seal of office
19 | this day of r
20
21
22
NOTARY PUBLIC IN AND FOR
23
THE STATE OF
24
25

A CERTIFIED COPY
MARC] A GILBERT
DISTRICT CLERK
COOKE COUNTY, TEKAS
si By: TRACY CHAUNCEY, Deputy

 

   

 

STEVEN H. GENTRY & ASSOCIATES, INC. (214) 321.5333
5115 NORTH GALLOWAY AVENUE, SUITE 202, MESQUITE (DALLAS COUNTY) TEXAS 75150
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 53 of 86 PageID #: 293

DIGITAL SIGNATURE AUTHENTICATION

This transcript contains an electronic digital
signature affixed by the court reporter. This advanced
technology has been authorized by the CRCB as
compliant under specific reporting guidelines. The
process not only acknowledges the authenticity of a
printed paper copy of the transcript but also the file in
its state of electronic storage.

The technology encompasses transmission
integrity, signature security, and record keeping for
each individual CSR that affixes the signature. The
CSR has sole personal control of affixing a signature
certifying its authenticity.

Fe arte Re A CERTIFIED COPY

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Foi Si MARCI A. GILBERT
ae oe DISTRICT CLERK
2, eee COOKE COUNTY, TEXAS

“Sy evaanet? 5 ee By. TRACY CHAUNCEY, Deputy
“14, ao
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 54 of 86.F Agel) fa 5-59 PM

Marci A. Gilbert
District Clerk
Cooke County, Texas
Melissa Gann
CAUSE NO. CV18-00515
STARK RANCH-WEST, LLC IN THE DISTRICT COURT OF
Plaintiff,
Vv. COOKE COUNTY, TEXAS

REDI-MIX, LLC

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Defendant. 235TH JUDICIAL DISTRICT

DEFENDANT’S MOTION TO QUASH PLAINTIFF’S NOTICE
OF DEPOSITION OF HERSCHEL PEERY

Defendant Redi-Mix, LLC (“Redi-Mix’) files this Motion to Quash Plaintiffs Notice of
Oral Deposition (“Notice”) for the deposition of Herschel Peery, scheduled for July 12, 2019 (the
“Deposition’). A conference was held on July 3, 2019 with Boyd Mouse, attorney for opposing
party, on the merits of this motion. Agreement could not be reached; therefore, it is presented to
the Court for determination.

The Notice should be quashed because the time designated in the Notice is unreasonable.
Tex. R. Civ. P. 199.4. Redi-Mix’s counsel ts unavailable on the July 12 date noticed by Plaintiff.
Unfortunately, Plaintiffs counsel did not propose the July 12 date prior to serving the Notice,
thus necessitating this motion rather than agreement by the parties on a reasonable time and
place. Redi-Mix and its counsel are in the process of evaluating alternative dates and hope to
reach agreement with Plaintiff's counsel on a reasonable time and place prior to conducting a
hearing on this motion.

Because this Motion is filed within three business days after service of Plaintiff's Notice
on Tuesday, July 2, 2019, the deposition is automatically stayed pursuant to Texas Rule of Civil

Procedure 199.4 pending the Court’s resolution of this Motion.

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Fay "Et MARCI A. GILBERT
DEFENDANT'S MOTION TO QUASH PLAINTIFF'S = 2 zi DISTRICT CLERK
NOTICE OF DEPOSITION OF HERS CHEL PEERY Sy at COOKE COUNTY, TEXAS

Yess By: TRACY CHAUNCEY, Deputy

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 55 of 86 PageID #: 295

WHEREFORE, PREMISES CONSIDERED, Defendant Redi-Mix respectfully requests

that the Court quash the Notice of Deposition.

DATED: July 3, 2019 Respectfully submitted,

AKIN GUMP STRAUSS HAUER & FELD LLP

/s/ Matthew V. Lloyd

M. Scott Barnard

Texas Bar No. 24001690
sbamard@akingump.com
Matthew V. Lloyd

Texas Bar No. 24083404
mvlloyd@akingump.com
2300 N. Field St., Suite 1800
Dallas, Texas 75201
Telephone: (214) 969-4299
Facsimile: (214) 969-4343

Attorneys for Defendant Redi-Mix LLC

CERTIFICATE OF SERVICE

I hereby certify that, on July 3, 2019, a true and correct copy of the above and foregoing
document was served on all counsel of record in accordance with the Texas Rules of Civil
Procedure.

/8/ Matthew V. Lloyd

S A CERTIFIED COPY
MARCI A, GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
iSigmew SiS By: TRACY CHAUNCEY, Deputy

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DEFENDANT’S MOTION TO QUASHPLAINTIFFS  :23°"
NOTICE OF DEPOSITION OF HERSCHEL PEERY 8g

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 56 of 86 Rags yi5048S- 4 AM

Marci A. Gilbert
District Clerk

Cooke County, Texas
Melissa Gann

Cause No. CV18-00515

STARK RANCH-WEST, LLC IN THE DISTRICT COURT OF

vs. COOKE COUNTY, TEXAS

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REDI-MIX, LLC 235TH JUDICIAL DISTRICT

NOTICE OF INTENTION
TO TAKE DEPOSITION BY WRITTEN QUESTIONS

TO: ALL PARTIES BY AND THROUGH THEIR ATTORNEY(S) OF RECORD AS PROVIDED IN THE ATTACHED
SERVICE LIST.

You will take notice that twenty (20) days after the service hereof, with attached questions, a deposition by written questions
will be asked of the custodian of records for:

UNDERWOOD DRAFTING & SURVEYING, INC.-(Client Record Scope)
3404 INTERURBAN ROAD, DENISON, TX 75021

Such questions to be answered on or after 07/31/2019, before a Notary Public at the instance of:
Written Deposition Service, LLC
1750 Valley View Lane Suite 210
Dallas, Texas 75234
The deposition with attached questions may be used in evidence upon the trial of the above-styled and numbered cause

pending in the above named court. Notice is further given that request is hereby made as authorized under Rule(s) 200 &
201(b), Texas Rules of Civil Procedure, to the officer taking this deposition to issue a Subpoena Duces Tecum and cause it to
be served on the witness to produce any and all records as described on the attached questions and/or Exhibit(s) and any other
such record in the possession, custody or control of the said witness, and every such record to which the witness may have
access, and to turn all such records over to the officer authorized to take this deposition so that photographic reproductions of
the same may be made and attached to said deposition.

A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
* By: TRACY CHAUNCEY, Deputy

 
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 57 of 86 PageID #: 297

Respectfully Submitted,

/s/Kenneth W. Biermacher

 

Kenneth W. Biermacher

SBA #: 02302400
kbiermacher@krcl.com

Boyd A. Mouse

SBA #: 24003949
bmouse@krel.com

Emily Green

SBA 4: 24106027
epreen@krel.com

Kane Russell Coleman Logan PC
1601 Elm Street, Suite 3700
Dallas, TX 75201

214-777-4200; Fax 214-777-4299

Attorneys for: Piaintiff

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we Cee,
Seti, A CERTIFIED COPY
SF 3 MARCI A. GILBERT
oi DISTRICT CLERK

“ avebed "ten,

‘ COOKE COUNTY, TEXAS
at " By: TRACY CHAUNCEY, Deputy

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“reariaee™
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 58 of 86 PageID #: 298

CERTIFICATE OF SERVICE
I certify, as authorized agent for the attorney of record, Kenneth W. Biermacher that a true and exact copy of
foregoing Notice of Intention to Take Deposition upon Written Questions was served to all attorneys of
record in the above-styled and numbered matter, said service being effected in the following manner:

CERTIFIED MAIL/RETURN RECEIPT REQUESTED

HAND DELIVERY

TELECOPY /
OVERNIGIHT/NEXT DAY DELIVERY VIA LONE STAR OR UPS

E-MAIL

DATED:

 

 

SERVED TO ALL PARTIES LISTED BELOW:
Stark Ranch-West, LLC vs. Redi-Mix, LLC
ATTORNEYS OF RECORD
M. Scott Barnard
Akin, Gump, Strauss, Hauer & Feld, L.L.P.
2300 N, Field St. Suite 1800
Dallas, TX 75201-4675
214-969-2800; Fax: 214-969-4343
Attorney For: Defendant

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2 Ob sree, A CERTIFIED COPY

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MARCI A. GILBERT

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O: $y : 4 DISTRICT CLERK
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% 3 COOKE COUNTY, TEXAS
ty lijevne eS By: TRACY CHAUNCEY, Deputy

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 59 of 86 PageID #: 299

CAUSE NO: CV18-00515
STARK RANCH-WEST, LLC § IN THE DISTRICT COURT OF
§
§
VS. 8 COOKE COUNTY, TEXAS
§
§
REDI-MIX, LLC § 235TH JUDICIAL DISTRICT

DIRECT QUESTIONS TO BE PROPOUNDED TO THE WITNESS,
CUSTODIAN OF RECORDS FOR:

UNDERWOOD DRAFTING & SURVEYING, INC.

l. State your full name and oceupation, address and telephone number.

ANSWER: (Name)
(Occupation)
(Address)
(City, State, Zip)
(Telephone #)

 

 

 

2s In response to the Subpoena Duces Tecum you received, have you produced RECORDS AS NAMED
IN THE ATTACHED EXHIBIT?

ANSWER:

 

3. Are you able to identify these records and/or tangible items as the originals or true and correct copies
of the originals?

 

ANSWER:
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Sar : Mie, A CERTIFIED COPY
Foe ee MARCI A. GILBERT
rGt a5 DISTRICT CLERK
2B, ay = COOKE COUNTY, TEXAS

Order # 66358,001 ey es a “se By. TRACY CHAUNCEY, Deputy

“ee”
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 60 of 86 PageID #: 300

10.

12.

Order # 66358.001

Were these records and/or tangible items made and kept in the regular course of your business?

ANSWER:

 

In the regular course of business of your practice, business, or institution, did the person who signed
the records and/or tangible items either have personal knowledge of the entries shown on the records
and/or tangible items, or obtain the information to make the entries from the sources who have such
personal knowledge?

ANSWER:

 

Were such memoranda or documents and/or tangible items then transmitted to your files and
thereafter maintained under your care, supervision, direction, custody, control or access as custodian
of this facility?

ANSWER:

 

Were the memoranda or documents and/or tangibie items that were transmitted to your files original
entries on the part of the Custodian or other employee or member of the staff of this facility?

ANSWER:

 

Were the records and/or tangible items prepared at or about the time of the events and conditions they
record?

ANSWER:

 

Were these records and/or tangible items kept as described in the previous questions?

ANSWER:

 

Please examine the original requested records and/or tangible items. Have you produced copies of
these records and/or tangible items for attachment to this Deposition?

ANSWER:

 

Has anything been removed from or altered in the original records and/or tangible items before
making these copies?

ANSWER:

 

If you have answered the previous question yes, please state fully and precisely what alteration was
made in the original records and/or tangible items and attach copies of every document removed from

the originals.

ANSWER:

 

eta,

   

A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: TRACY CHAUNCEY, Deputy

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 61 of 86 PageID #: 301

13. In the event that no records and/or tangible items can be found, are there document archives (ie.
microfiche) or document retention policies which explain their absence? If so, please identify who has
knowledge of those archives or policies of the above named facility.

ANSWER:

 

14. Are you aware that it may be necessary to subpoena you or your employer to court af the time of trial
if you have not provided all of the papers, notes, documents, records, general correspondence, or other

tangible items of any kind pertaining to the above named individual to the Notary Public taking your
deposition?

ANSWER: (circle one) YES/NO

I], (Custodian of Record), do swear or affirm that my answers to
the above questions are the truth, the whole truth and nothing but the truth, so help me Gad.

 

Custodian of Record

I, , A Notary Public, do hereby certify the above
Custodian was duly sworn and the non-stenographic recording of this Written Deposition is a true record of
the Custodian testimony.

GIVEN UNDER MY HAND AND SEAL OF OFFICE, THIS DAY OF
120...

 

SIGNATURE OF NOTARY PUBLIC IN AND FOR THE STATE OF TX

 

NAME OF NOTARY PUBLIC TYPED OR PRINTED
My commission expires:

 

 

ACERTIFIED COPY

SSeS

26! } Sk MARCI A. GILBERT

zi ii DISTRICT CLERK

4S, wig COOKE COUNTY, TEXAS
Order # 66358.001 Mg ee BS By. TRACY CHAUNCEY, Deputy
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 62 of 86 PagelID #: 302

 

 

SUBPOENA DUCES TECUM

THE STATE OF TEXAS
County of Cooke

Greeting, to any Sheriff or Constable of the State of Texas or other person authorized to serve subpoenas under Rule 176 of
Texas Rules of Civil Procedure: You are hereby commanded to subpoena and summon the following witness(es):

Designated Custodian of Records for; UNDERWOOD DRAFTING &
SURVEYING, INC.

lo be and appear before a Notary Public of my designation for Written Deposition Service, LLC, 1750 Valley View Lane,
Suite, 210, Dallas, TX 75234, on or after 07/31/2019 at the office of the summoned witness. There under oath to make
answers of certain written questions to be propounded to the witness and to bring and produce for inspection and photocopying
RECORDS AS NAMED IN THE ATTACHED EXHIBIT; at any and ali times whatsoever.

Then and there to give evidence at the instance of the Plaintiff, Stark Ranch-West, LLC, represenied by Kenneth, W,
Biermacher, Texas Bar No. 02302400 Attorney of Record, in that Certain Cause No. CV18-00515, pending on the docket of
the District Court of the 235th Judicial District of Cooke County, Texas.

This Subpoena is issued under and by virtue of Rule 200 and Notice of Deposition Upon Written Questions on file with the
above named court, styled

 

Stark Ranch-West, LLC vs. Redi-Mix, LLC
and there remain from day to day and time to time until discharged according to law.

———

WITNESS MY HAND, this an day of \, — > 4019.
 N Whitesides { jh AA

7] Nulary Public, Shite of Terns ' i
Commission # 126340426 NOTARY PUBLIC

Expires: 12/07/2012

176.8 Enforcement of Subpoena. (a) Contempt. Failure by any person without adequate excuse to obey a subpoena served
upon that person may be deemed a contempt of the court from which the subpoena is issued or a district court in the county in
which the subpoena is served, and may be punished by fine or confinement, or both. This subpoena falls under exception to

contidentiality, Rule 509 (e) Texas rules of Civil Evidence.

 

 

 

 

 

 

4. ey.

 

 

 

 

OF FICER'S RETURN

 

 

 

Came to hand and executed this the day )__, in the following manner: By delivering to the
witness , a true copy hereof, with attached witness fee of $
Returned this day of , 20

PROCESS SERVER

Order No. 66358.001

 

Ast O Peay,

A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
’ COOKE COUNTY, TEXAS
o By: TRACY CHAUNCEY, Deputy

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 63 of 86 PagelID #: 303

EXHIBIT

Definitions:

The term "Documents" is used in its broadest sense and means any and all kinds of written,
recorded, graphic, or electronically stored data or information stored in any Sources from
which data or information can be obtained either directly or, if applicable, after translation by
the responding party in to a reasonably usable form, including but not limited to papers,
books, letters, photographs, objects, tangible things, correspondence, telegrams, facsimiles,
telex messages, e-mail (including "deleted" e-mail), text messages, instant messages,
memoranda, handwritten notes, notations, work papers, transcripts, minutes, drafts, reports,
recordings of telephone or other conversations, video recordings, affidavits, charts, diagrams,
schedules, maps, flow sheets, organization charts, contracts, journals, statistical records, logs,
desk calendars, appointment books, and diaries. The term "Sources" includes, but is not
limited to, desk and laptop computer hard drives (internal and external), servers, computer or
server back-up tapes, removable storage media (including, but not limited to, CDs, DVDs,
"thumb" drives, "flash" drives, memory sticks, and microfilms), mobile devices such as
mobile telephones or other personal digital assistants, and any other locations, mediums, or
methods of recordation where data or information may be stored or obtained.

Documents to be produced:

For the period of July 1, 2012 to the present, any and all Documents pertaining to the survey
attached hereto as Exhibit “1” or any work performed or communications incident thereto.

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ie Yee als By: TRACY CHAUNCE’, Deputy

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 64 of 86 PageID #: 304

 

 

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By: TRACY CHAUNCEY, Deputy

 
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By: TRACY CHAUNCEY, Deputy

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By: TRACY CHAUNCEY, Deputy

 
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DISTRICT CLERK
COOKE COUNTY, TEXAS
By: TRACY CHAUNCEY, Deputy

   
   

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 70 of 86 PagelD #: 310
Filed: 7717/2019 7:51 AM

Marci A. Gilbert
District Clerk

Cooke County, Texas
Tracy Chauncey

IN THE DISTRICT COURT OF

Cause No. CV18-00515
STARK RANCH-WEST, LLC

COOKE COUNTY, TEXAS

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REDI-MIX, LLC 235TH JUDICIAL DISTRICT

NOTICE OF INTENTION FOR PRODUCTION OF DOCUMENTS

TO: ALL PARTIES BY AND THROUGH THEIR ATTORNEY(S) OF RECORD AS PROVIDED IN THE ATTACHED
SERVICE LIST.

You will take notice that ten (10) days after the service hereof, the custodian of records for:

UNDERWOOD DRAFTING & SURVEYING, INC.-(Client Record Scope)
3404 INTERURBAN ROAD, DENISON, TX 73021

Shall receive a Subpoena to produce documents on or after 68/08/2019, or any other agreed upon time and/ar place, before a

Notary Public at the instance of:
Written Deposition Service, LLC

1750 Vailey View Lane Suite 210
Dallas, Texas 75234
or its designated agent, to be used in evidence upon the trial of the above-styled and numbered cause pending in the above
named court. Notice is further given that request is hereby made as authorized under Rule 205.2 & 205.3, Texas Ruies of
Civil Procedure, that the authorized officer shall issue a Subpocna Duces Tecum and cause it to be served on the witness to
produce any and all records as described on the attached Subpoena(s) and/or Exhibit(s} and any other such record in the
possession, custody or control of the said witness, and every such record to which the witness may have access, and to turn all

such records over to the authorized officer so that photographic reproductions of the same may be made and attached.

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ni oe Aes By: TRACY CHAUNCEY, Deputy

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 71 of 86 PageID#: 311

Respectfully Submitted,

/s/Kenneth W. Biermacher

 

Kenneth W. Biermacher

SBA #: 02302400
kbhiermacher@krel.com

Boyd A. Mouse

SBA #: 24003949
bmouse@kreLecom

Emily Green

SBA #: 24106027
egreen@kreicom

Kane Russell Colemau Logan PC
1601 Elin Street, Suite 3700
Dallas, TX 75201

214-777-4200; Fax 214-777-4299

Attorneys for: Plaintiff

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COOKE COUNTY, TEXAS
By: TRACY CHAUNCEY, Deputy

 

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 72 of 86 PageID #: 312

CERTIFICATE OF SERVICE
I certify, as authorized agent for the attorney of record, Kenneth W. Biermacher that a true and exact copy of
foregoing Notice of Intention for the Production of Documents was served to all attorneys of record in the
above-styled and numbered matter, said service being effected in the following manner:

CERTIFIED MAIL/RETURN RECEIPT REQUESTED
HAND DELIVERY

TELECOPY Jf

OVERNIGHT/NEXT DAY DELIVERY VIA LONE STAR OR UPS

E-MAIL
DATED: <
BY: \ ite )

SERVED TO ALL PARTIES LISTED BELOW;
Stark Ranch-West, LLC vs. Redi-Mix, LLC

 

ATTORNEYS OF RECORD
M. Scott Barnard
Akin, Gump, Strauss, Hauer & Feld, L.L.P.
2300 N. Field St. Suite 1800
Dallas, TX 75201-4675
214-969-2800; Fax: 214-969-4343
Attorney For: Defendant

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MARCI 4. GILBERT

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* By: TRACY CHAUNCEY, Deputy

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 73 of 86 PagelID #: 313

 

 

SUBPOENA DUCES TECUM
THE STATE OF TEXAS

County of Cooke

Greeting, to any Sheriff or Constable of the State of Texas or other person authorized to serve subpoenas under Rule 176 of
Texas Rules of Civil Procedure: You are hereby commanded to subpoena and summon the following witness(es):

Designated Custodian of Records for: UNDERWOOD DRAFTING &
SURVEYING, INC.

to be and appear before a Notary Public of my designation for Written Deposition Service, LLC, 1750 Valley View Lane,
Suite, 210, Dallas, TX 75234, on or after 08/08/2019, at the office of the summoned witness. There to bring and produce for
inspection and photocopying RECORDS AS NAMED IN THE ATTACHED EXHIBIT; at any and all times whatsoever.

Then and there to give evidence at the instance of the Plaintiff, Stark Ranch-West, LLC, represented by Kenneth W,
Biermacher, Texas Bar No. 02302400 Attorney of Record, in that Certain Cause No. CV18-0051§, pending on the docket of
the h Judicial District of Cooke C Texas.
This Subpoena is issued under and by virtue of Rule 205.3 with the above named court, styled

Stark Ranch-West, LLC vs, Redi-Mix, LLC
and there remain from day to day and time to time uptiyischarged according to law.

 

 

     
 

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8 Enforcement of Subpoena. (a) Contempt. Failure by any person without adequate excuse to obey a subpoena served
upon that person may be deeined a contempt of the court from which the subpoena is issued or a district court in the county in
which the subpoena is served, and may be punished by fine or confinement, or both. This subpoena falls under exception to
confidentiality, Rule 509 (e) Texas rules of Civil Evidence.

   

es

 

 

 

NOTARY PUBLIC

 

OFFICER'S RETURN,

 

 

 

Came to hand and executed this the day of 0 . in the following manner: By delivering to the
witness , a true copy hereof, with attached witness fee of $
Returned this day of ,20

PROCESS SERVER

Order No. 66358.002

 

 

A CERTIFIED COPY
MARCI 4. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: TRACY CHAUNCEY, Deputy

 

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 74 of 86 PageID #: 314

EXHIBIT

Definitions:

The term “Documents” is used in its broadest sense and means any and all kinds of written,
recorded, graphic, or electronically stored data or information stored in any Sources from
which data or information can be obtained either directly or, if applicable, after translation by
the responding party in to a reasonably usable form, including but not limited to papers,
books, letters, photographs, objects, tangible things, correspondence, telegrams, facsimiles,
telex messages, e-mail (including "deleted" e-mail), text messages, inslant messages,
memoranda, handwritten notes, notations, work papers, transcripts, minutes, drafts, reports,
recordings of telephone or other conversations, video recordings, affidavits, charts, diagrams,
schedules, maps, flow sheets, organization charts, contracts, journals, statistical records, logs,
desk calendars, appointment books, and diaries. The term “Sources” includes, but is not
limited to, desk and laptop computer hard drives (internal and external), servers, computer or
server back-up tapes, removable storage media (including, but not limited to, CDs, DVDs,
"thumb" drives, "flash" drives, memory sticks, and microfilms), mobile devices such as
mobile telephones or other personal digital assistants, and any other locations, mediums, or
methods of recordation where data or information may be stored or obtained.

Documents to be produced:

For the period of July 1, 2012 to the present, any and all Documents pertaining to the survey
attached hereto as Exhibit “1” or any work performed or communications incident thereto.

   
   
 

A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: TRACY CHAUNCEY, Deputy

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Case 4:19-cv-00651 Document1-3 Filed 09/09/19 Page 75 of 86-Faged tords-14 AM

Marci A. Gilbert
District Clerk
Cooke County, Texas

Cause No. CV18-00515 Janice Brewer

STARK RANCH-WEST, LLC IN THE DISTRICT COURT GF

VS, COOKE COUNTY, TEXAS

LL LP Le LP

REDI-MIX, LLC 235TH JUDICIAL DISTRICT

NOTICE OF INTENTION FOR PRODUCTION OF DOCUMENTS

TO: ALL PARTIES BY AND THROUGH THEIR ATTORNEY(S) OF RECORD AS PROVIDED IN THE ATTACHED
SERVICE LIST.

You will take notice that ten (10) days after the service hereof, the custodian of records for:

FIRMATEK, LLC-(Client Record Scope)
10010 SAN PEDRO AVENUE, STE 850, SAN ANTONIO, TX 78216

Shall receive a Subpoena to produce documents on or after 08/27/2029, or any other agreed upon time and/or place, before a

Notary Public at the instance of:
Written Deposition Service, LLC

1750 Valley View Lane Suite 210
Dallas, Texas 75234
or its designated agent, to be used in evidence upon the trial of the above-styled and numbered cause pending in the above
named court. Notice is further given that request is hereby made as authorized under Rule 205.2 & 205.3, Texas Rules of
Civil Procedure, that the authorized officer shall issue a Subpoena Duces Tecum and cause it to be served on the witness to
produce any and all records as described on the attached Subpoena(s) and/or Exhibit(s) and any other such record in the
possession, custody or control of the said witness, and every such record to which the witness may have access, and to turn all
such records over to the authorized officer so that photographic reproductions of the same may be made and attached.

A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: TRACY CHAUNCEY, Deputy

     

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 76 of 86 PageID #: 316

Respectfully Submitted,

A/Boyd A. Mouse

 

Boyd A. Mouse

SBA #: 24106027
bmouse@krecl.com

Emily Green

SBA #; 24106027
egreen@krel.com

Kane Russell Coleman Logan PC
1661 Elm Street, Suite 3700
Dallas, TX 75201

214-777-4200; Fax 214-777-4299
bmouse@krel.com

Attorneys for: Plaintiff

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A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
i “sy COOKE COUNTY, TEXAS
a koysme gS By: TRACY CHAUNCEY, Deputy

 
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 77 of 86 PagelID #: 317

CERTIFICATE OF SERVICE
I certify, as authorized agent for the attorney of record, Boyd A. Mouse that a true and exact copy of
foregoing Notice of Intention for the Production of Documents was served to all attorneys of record in the
above-styled and numbered matter, said service being effected in the following manner:

CERTIFIED MAIL/RETURN RECEIPT REQUESTED

HAND DELIVERY

TELECOPY V.
OVERNIGHT/NEXT DAY DELIVERY VIA LONE STAR OR UPS

E-MAIL

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BY:

SERVED TO ALL PARTIES LISTED BELOW:
Stark Ranch-West, LLC vs. Redi-Mix, LIC

 

ATTORNEYS OF RECORD
M. Scott Barnard
Akin, Gump, Strauss, Hauer & Feld, L.L.P.
2300 N. Field St. Suite 1800
Dallas, TX 75201-4675
214-969-2800; Fax: 214-969-4343
Attorney For: Defendant

A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
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SUBPOENA DUCES TECUM

THE STATE OF TEXAS
County of Cooke

Greeting, to any Sheriff or Constable of the State of Texas or other person authorized to serve subpoenas under Rule 176 of
Texas Rules of Civil Procedure: You are hereby commanded to subpoena and summon the folfowing witness(es):

Designated Custodian of Records for: FIRMATEK, LLC

to be and appear before a Notary Public of my designation for Written Deposition Service, LLC, 1750 Valley View Lance,
Suite, 210, Dallas, TX 75234, on or after 08/27/2019, at the office of the summoned witness. There to bring and produce for
inspection and photocopying RECORDS AS NAMED IN THE ATTACHED EXHIBIT; at any and all times whatsoever.

Then and there to give evidence at the instance of the Plaintiff, Stark Ranch-West, LLC, represented by Boyd Mouse, Texas
Bar No. 24106027 Attorney of Record, in that Certain Cause No. CV18-00515, pending on the docket of the District Court of
the 235th Judicial District of Cooke County, Texas.
This Subpoena is issued under and by virtue of Rule 205.3 with the above named court, styled

Stark Ranch-West, LLC vs. Redi-Mix, LLC
and there remain from day to day and time to time until discharged according to law.

WITNESS MY HAND, this th day of
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| Noniry Public, State of Texas

J Connnission # §26346426
Expires; 12/07/2015 NOTARY PEBHIC

 

 

 

 

 

 

176.8 Enforcement of Subpoena. (a) Contempt. Failure by any person without adequate excuse to obey a subpoena served
upon that person may be deemed a contempt of the court from which the subpoena is issued or a district court in the county in
which the subpoena is served, and may be punished by fine or confinement, or both, This subpoena falls under exception to
confidentiality, Rule 509 (e) Texas rules of Civil Evidence.

OFFICER'S RETURN

 

 

Came to hand and executed this the day of , 20 , in the following manner: By delivering to the
witness , a true copy hereof, with attached witness fee of $
Returned this dayof , 20 .

PROCESS SERVER

Order No. 66358.003

 

A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: TRACY CHAUNCEY, Deputy

 

 
Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 79 of 86 PagelID #: 319

EXHIBIT

Definitions:

The term "Documents" is used in its broadest sense and means any and all kinds of written,
recorded, graphic, or electronically stored data or information stored in any Sources from which
data or information can be obtained either directly or, if applicable, after translation by the
responding party in to a reasonably usable form, including but not limited to papers, books,
letters, photographs, objects, tangible things, correspondence, telegrams, facsimiles, telex
messages, e-matl (including “deleted” e-mail), text messages, instant messages, memoranda,
handwritten notes, notations, work papers, transcripts, minutes, drafts, reports, recordings of
telephone or other conversations, video recordings, affidavits, charts, diagrams, schedules, maps,
flow sheets, organization charts, contracts, journals, statistical records, logs, desk calendars,
appointment books, and diaries. The term “Sources” includes, but is not limited to, desk and
Japtop computer hard drives (internal and external), servers, computer or server back-up tapes,
removable storage media (including, but not limited to, CDs, DVDs, “thumb” drives, "flash"
drives, memory sticks, and microfilms), mobile devices such as mobile telephones or other
personal digital assistants, and any other locations, mediums, or methods of recordation where

data or information may be stored or obtained.

Documents to be produced:

For the period of January 1, 2014 to the present, all Documents pertaining to any work
performed by Firmatek, LLC or its affiliates relating in any way to the Redi-Mix, LLC mining
operations or facility based in or near Thackerville, Oklahoma, including but not limited to all
reports, communications, videos, or photographs relating to or depicting such work, facility, or

operations. (See Exhibit “A” for an example of some of the work).”

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MARCI A. GILBERT
iS: DISTRICT CLERK

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DISTRICT CLERK
CGOKE COUNTY, TEXAS
By: TRACY CHAUNCEY, Deputy

 

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Case 4:19-cv-00651 Document 1-3 Filed 09/09/19 Page 81 of 86 PageID #: 321

 

Message

From: Rance Carroll [rance.carroll@firmatek.com]

Sent: 6/23/2015 6:17:48 PM

To: Misty Dodson (/o=Exchangelabs/ou=Exchange Administrative Group

(FYDIBGHF23SPDLT)/cn=Recipients/cn=493907 239¢324d278b¢2633896e3058a-MDad son]; Rick Johnsen
{rick johnson @firmatek.com); Kelli Kersey (kelli. kersey @firmatek.com); Lauren Elmore
flauren.elmore @firmatek.com); Tina Magness [tina.magness @firmatek.com)

Subject: 6-23-15 Redi Mix - Red River Piant #605 Inventory Results

Attachmants: 6-23-25 Redi Mix - Red River Plant #605..dsx

Hello Herschel,

[have attached your inventory results. Please take a moment to look over the results. Specifically, please
review the following:

1. Are all of the piles you asked us to measure reported?
2. Are all of the piles properly labeled?
3, Do any of the volumes that we reported seem odd to you?

If you have any questions or concerns, please do not hesitate to contact me by phone or email. Thank you for
trusting Finmatek with your inventory measurements.

Kind Regards,

Rance Carroll | Field Technician | Firmatek, LLC
9360 Corporate Drive, Suite 103, Selma, TX 78154

rance.carroll@firmatek.com | firmatek.com

“Arming You with Truth Tarough Techirology for 13 Years.”

A CERTIFIED COPY
MARCI A. GILBERT
DISTRICT CLERK
COOKE COUNTY, TEXAS
By: TRACY CHAUNCEY, Deputy

   

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